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                                        LAW OFFICES

                                 JENNER & BLOCK LLP
                                          353 N. Clark Street
                                     CHICAGO, ILLINOIS 60654-3456
                                            (312) 222-9350




CLIENT NUMBER:         57347



     OFFICIAL COMMITTEE OF RETIREES IN THE                                     MARCH 17, 2020
     COMMONWEALTH OF PUERTO RICO                                            INVOICE # 9523119
     MIGUEL FABRE
     PUERTO RICO




FOR PROFESSIONAL SERVICES RENDERED                                                 $ 17,640.00
THROUGH FEBRUARY 29, 2020:

     LESS 15% FEE DISCOUNT                                                         $ -2,646.01

                                                           FEE SUB-TOTAL          $ 14,993.99

DISBURSEMENTS                                                                             $ .00

                                                            TOTAL INVOICE          $ 14,993.99
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                                               (312) 222-9350



OFFICIAL COMMITTEE OF RETIREES IN THE
COMMONWEALTH OF PUERTO RICO
MIGUEL FABRE
PUERTO RICO

CLIENT NUMBER: 57347

FOR PROFESSIONAL SERVICES RENDERED
THROUGH FEBRUARY 29, 2020:


COMMITTEE GOVERNANCE AND MEETINGS                                              MATTER NUMBER - 10024

 2/11/20   RDG         2.50   Further prepare for 2/12 Committee meeting and other           3,062.50
                              meetings.

 2/12/20   RDG         5.20   Further prepare for Committee meeting today (.5);              6,370.00
                              conference with H. Mayol, F. del Castillo, and S. Gumbs
                              re same and related issues (.7); participate in Committee
                              meeting (4.0).

                       7.70   PROFESSIONAL SERVICES                                         $ 9,432.50


LESS 15% FEE DISCOUNT                                                                      $ -1,414.88

                                                                       FEE SUB-TOTAL        $ 8,017.62


SUMMARY OF COMMITTEE GOVERNANCE AND MEETINGS

NAME                                                    HOURS                 RATE             TOTAL
ROBERT D. GORDON                                          7.70             1,225.00           9,432.50
TOTAL                                                     7.70                              $ 9,432.50



MATTER 10024 TOTAL                                                                          $ 8,017.62




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                                                (312) 222-9350




FISCAL PLAN/PLAN OF ADJUSTMENT                                                     MATTER NUMBER - 10067

 2/11/20   RDG        1.00    Further analyze issues relative to                                 1,225.00
                              DS and POA.

 2/12/20   RDG        5.50    Attend meetings                                                    6,737.50

                                                         re POA issues.

 2/12/20   RDG          .20   Email conference                                                     245.00
                                      re conference call to discuss developments (.1);
                              email conference with S. Millman re same (.1).

                      6.70    PROFESSIONAL SERVICES                                             $ 8,207.50


LESS 15% FEE DISCOUNT                                                                          $ -1,231.13

                                                                        FEE SUB-TOTAL           $ 6,976.37


SUMMARY OF FISCAL PLAN/PLAN OF ADJUSTMENT

NAME                                                     HOURS                  RATE               TOTAL
ROBERT D. GORDON                                           6.70              1,225.00             8,207.50
TOTAL                                                      6.70                                 $ 8,207.50



MATTER 10067 TOTAL                                                                              $ 6,976.37
                                                                   TOTAL INVOICE               $ 14,993.99


SUMMARY OF PROFESSIONAL SERVICES

NAME                                                   HOURS                  RATE                 TOTAL
ROBERT D. GORDON                                         14.40             1,225.00              17,640.00
TOTAL                                                    14.40                                 $ 17,640.00




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                                        LAW OFFICES

                                 JENNER & BLOCK LLP
                                          353 N. Clark Street
                                     CHICAGO, ILLINOIS 60654-3456
                                            (312) 222-9350




CLIENT NUMBER:         57347



     OFFICIAL COMMITTEE OF RETIREES IN THE                                           APRIL 27, 2020
     COMMONWEALTH OF PUERTO RICO                                                 INVOICE # 9524834
     MIGUEL FABRE
     PUERTO RICO




FOR PROFESSIONAL SERVICES RENDERED
THROUGH MARCH 31, 2020:                                             ..            .   $535,364.00
                                                                    .             .
LESS 15% FEE DISCOUNT ON ALL MATTERS EXCEPT
NON-WORKING TRAVEL MATTER                                           ..            .    $71,030.36
                                                                    .             .
LESS 50% FEE DISCOUNT ON NON-WORKING TRAVEL
MATTER                                                                            .    $30,914.25
                                                                    .             .
                                                                    FEE SUB-TOTAL .   $433,419.39
                                                                    .             .
DISBURSEMENTS                                                       .             .    $52,133.73
                                                                    .             .
                                                                    TOTAL INVOICE .   $485,553.12
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                                                (312) 222-9350



OFFICIAL COMMITTEE OF RETIREES IN THE
COMMONWEALTH OF PUERTO RICO
MIGUEL FABRE
PUERTO RICO

CLIENT NUMBER: 57347

FOR PROFESSIONAL SERVICES RENDERED
THROUGH MARCH 31, 2020:


CASE ADMINISTRATION/MISCELLANEOUS                                                MATTER NUMBER - 10008

 3/02/20   MXP          .70   Prepare daily team circulation of key pleadings.                    161.00

 3/02/20   MMR         1.00   Participated in weekly COR professionals strategy call.             975.00

 3/02/20   MZH          .90   Participated in weekly COR professionals strategy call.            1,012.50

 3/02/20   LSR         1.00   Participated in weekly team call.                                   900.00

 3/02/20   CNW         1.50   Correspond with R. Gordon re omnibus hearing                       1,320.00
                              preparation and all-professionals' call agenda (.2);
                              participate in all professionals' call (1.0); correspond with
                              D. Grunwald re material discussed on call (.1); review
                              litigation activity and correspond with M. Patterson re
                              circulation of pleadings to Jenner and Bennazar teams
                              (.2).

 3/02/20   RDG         1.80   Analyze and prepare agenda (.3) and participate in all-            2,205.00
                              professionals call re pending matters, strategy, and
                              coordination of efforts (1.0); further analyze issues (.3);
                              email conference with A.J. Bennazar (.1) and P.
                              Possinger (.1) re
                                           .

 3/03/20   MXP          .70   Prepare daily team circulation of key pleadings.                    161.00

 3/04/20   MXP          .70   Prepare daily team circulation of key pleadings.                    161.00

 3/04/20   CNW          .20   Review litigation activity and correspond with M.                   176.00
                              Patterson re circulation of pleadings to Jenner and
                              Bennazar teams.

 3/05/20   MXP          .70   Prepare daily team circulation of key pleadings.                    161.00

 3/05/20   CNW          .20   Review litigation activity and correspond with M.                   176.00
                              Patterson re circulation of pleadings to Jenner and
                              Bennazar teams.




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3/05/20   RDG         .30   Review pending matters, case administration.                        367.50

3/06/20   MXP         .70   Prepare daily team circulation of key pleadings.                    161.00

3/06/20   MXP         .30   Update files on N Drive and SharePoint with new                         69.00
                            documents from Intralinks.

3/07/20   RDG         .40   Attention to logistics for March 9 meeting in San Juan,             490.00
                            including air travel.

3/08/20   RDG         .30   Review pending matters (.2); email conference with team             367.50
                            re all-professionals call this week (.1).

3/09/20   MXP         .70   Prepare daily team circulation of key pleadings.                    161.00

3/09/20   CNW         .20   Review litigation activity and correspond with M.                   176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

3/10/20   CS          .50   Attend meeting re plan and case status (partial                     612.50
                            attendance).

3/10/20   MXP         .70   Prepare daily team circulation of key pleadings.                    161.00

3/10/20   MMR        1.00   Participate in all professionals call.                              975.00

3/10/20   MZH        1.00   Participated in weekly strategy conference call with COR           1,125.00
                            professionals.

3/10/20   LSR        1.00   Participated in Retiree Committee team weekly call.                 900.00

3/10/20   CNW        1.30   Participate in all professionals' call (1.0); correspond with      1,144.00
                            R. Gordon re agenda for same (.1); review L. Raiford
                            summary of upcoming dates and deadlines (.1); review
                            litigation activity and correspond with M. Patterson re
                            circulation of pleadings to Jenner and Bennazar teams
                            (.1).

3/10/20   RDG         .10   Receive and review report re appointment of O. Marrero              122.50
                            as Commonwealth representative on FOMB.

3/10/20   RDG        1.50   Review pending matters and prepare agenda for all-                 1,837.50
                            professionals conference call (.5); participate in
                            conference call re same, strategy, and coordination of
                            efforts (1.0).

3/11/20   MXP         .70   Prepare daily team circulation of key pleadings.                    161.00




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3/11/20   MXP         .70   Prepare binder with index for cases cited in the Motion           161.00
                            for Entry of an Order Reclassifying Class 39A and 41
                            Claims Under Oversight Board's Plan for M. Root's
                            review.

3/11/20   CNW         .40   Review Bennazar memo                           (.2); review       352.00
                            litigation activity and correspond with M. Patterson re
                            circulation of pleadings to Jenner and Bennazar teams
                            (.2).

3/11/20   TDH         .30   Update case calendar.                                             120.00

3/12/20   MXP         .70   Prepare daily team circulation of key pleadings.                  161.00

3/12/20   CNW         .30   Correspond with team re effect of coronavirus restrictions        264.00
                            on COR initiatives (.2); review litigation activity and
                            correspond with M. Patterson re circulation of pleadings
                            to Jenner and Bennazar teams (.1).

3/13/20   MXP         .70   Prepare daily team circulation of key pleadings.                  161.00

3/13/20   MXP         .60   Update court, correspondence and subject files with               138.00
                            recent documents.

3/13/20   MMR         .60   Phone conference with R. Gordon regarding case                    585.00
                            management matters (.3); work on matters related to
                            same (.3).

3/13/20   CNW         .10   Review litigation activity and correspond with M.                     88.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

3/13/20   RDG         .30   Phone conference with M. Root re pending matters, case            367.50
                            administration.

3/15/20   RDG         .20   Analyze issues, and email conference with Jenner team             245.00
                            re internal call on 3/16 re pending matters.

3/16/20   CS         1.00   Telephone conference with all professionals re case              1,225.00
                            strategy issues.

3/16/20   MXP         .70   Prepare daily team circulation of key pleadings.                  161.00

3/16/20   MMR        1.30   Participate in all professionals call (1.0); review of           1,267.50
                            upcoming deadlines, tasks and e-mails with team on
                            same (.3).

3/16/20   MZH        1.00   Participated in weekly status and strategy call with COR         1,125.00
                            professionals.




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3/16/20   EML         .70   Participated in coordination call with all outside counsel        665.00
                            and consultants (partial attendance).

3/16/20   RDG        1.60   Review file and prepare agenda (.3) and participate in all-      1,960.00
                            professionals call re pending matters, case
                            administration (1.0); follow-up email conference with D.
                            Grunwald                              (.3).

3/17/20   MXP         .70   Prepare daily team circulation of key pleadings.                  161.00

3/17/20   CNW         .40   Review litigation activity and correspond with M.                 352.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams (.3); review report on filing deadlines
                            and correspond with Jenner team re same (.1).

3/17/20   RDG         .10   Receive and review report re District Court                       122.50
                            announcement of maintaining court dates for now
                            despite Coronavirus.

3/18/20   MXP         .70   Prepare daily team circulation of key pleadings.                  161.00

3/18/20   LSR         .90   Reviewed order re notice of disclosure statement to               810.00
                            retirees.

3/19/20   MXP         .70   Prepare daily team circulation of key pleadings.                  161.00

3/19/20   CNW         .20   Review litigation activity and correspond with M.                 176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

3/20/20   MXP         .70   Prepare daily team circulation of key pleadings.                  161.00

3/20/20   CNW         .20   Review litigation activity and correspond with M.                 176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

3/22/20   CNW         .20   Review report on House Bill 2454.                                 176.00

3/23/20   CS         1.20   Attend meeting re team re plan and strategy.                     1,470.00

3/23/20   MXP         .70   Prepare daily team circulation of key pleadings.                  161.00

3/23/20   MMR        1.20   Participate in all professionals call.                           1,170.00

3/23/20   MZH        1.30   Prepared for (.1) and participated in weekly status and          1,462.50
                            strategy call with COR professionals (1.2).

3/23/20   LSR        1.40   Prepared for (.2) and attended Retiree Committee                 1,260.00
                            professional call (1.2).




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3/23/20   CNW        1.50   Review draft of letter                                            1,320.00

                                               (.1) summarize                  dispute
                            (1.2); Review litigation activity and correspond with M.
                            Patterson re circulation of pleadings to Jenner (.2).

3/23/20   CNW        1.30   Participate in all professionals' call (1.0); Participate in      1,144.00
                            follow-up call re letter
                                                                                  (.3).

3/23/20   RDG         .30   Receive and review report re removal of Ambac's suit               367.50
                            against underwriters to the federal court and deadline for
                            remand motion.

3/23/20   RDG        2.60   Review file and prepare agenda for all-professionals call         3,185.00
                            today (.4); participate in all-professionals call re pending
                            matters, coordination of efforts (1.2); follow-up telephone
                            conference with C. Steege, M. Root, and M. Hankin re
                            developing letter                            (.3); email
                            conferences                                       (.1) and
                            Hankin (.2) re same; receive, review and revise same
                            (.4).

3/24/20   CS          .10   Telephone call with R. Gordon regarding pending                    122.50
                            matters.

3/24/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

3/24/20   CNW         .20   Review litigation activity and correspond with M.                  176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

3/24/20   RDG         .10   Telephone conference with C. Steege re pending                     122.50
                            matters.

3/25/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

3/25/20   CNW         .20   Review litigation activity and correspond with M.                  176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

3/26/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

3/26/20   CNW         .20   Review litigation activity and correspond with M.                  176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

3/27/20   CS          .30   Review AAFAF COVID filing (.2) and email to team re                367.50
                            same (.1).




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                                                (312) 222-9350



 3/27/20   MXP          .70   Prepare daily team circulation of key pleadings.                   161.00

 3/27/20   CNW          .20   Review litigation activity and correspond with M.                  176.00
                              Patterson re circulation of pleadings to Jenner and
                              Bennazar teams.

 3/30/20   CS           .80   Attend team call.                                                  980.00

 3/30/20   MXP          .70   Prepare daily team circulation of key pleadings.                   161.00

 3/30/20   MXP        1.30    Update SharePoint site with deposition transcript and              299.00
                              exhibits.

 3/30/20   MMR          .50   Participate in portion of all professionals call.                  487.50

 3/30/20   MZH        1.00    Prepared for (.2) and participated in COR weekly                 1,125.00
                              strategy conference call (.8).

 3/30/20   LSR          .50   Weekly retiree committee professional call.                        450.00

 3/30/20   CNW        1.20    Participate in weekly all-professionals' call (.8); review       1,056.00
                              litigation activity and correspond with M. Patterson re
                              circulation of pleadings to Jenner and Bennazar teams
                              (.2); correspond with R. Gordon re same (.2).

 3/30/20   RDG        1.00    Prepare for (.2) and participate in (.8) all-professionals       1,225.00
                              call re pending matters.

 3/30/20   TDH          .60   Read and responded to team email communications.                   240.00

 3/30/20   TDH          .40   Archived team email communications.                                160.00

 3/31/20   MXP          .70   Prepare daily team circulation of key pleadings.                   161.00

 3/31/20   LSR          .70   Review materials re UBS litigation.                                630.00

 3/31/20   CNW          .40   Return message received                   for R. Gordon re         352.00
                              COR (.1); correspond with R. Gordon re same (.1);
                              review litigation activity and correspond with M. Patterson
                              re circulation of pleadings to Jenner and Bennazar teams
                              (.2).

                     61.50    PROFESSIONAL SERVICES                                         $ 48,568.50


LESS 15% FEE DISCOUNT                                                                        $ -7,285.28

                                                                        FEE SUB-TOTAL       $ 41,283.22




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SUMMARY OF CASE ADMINISTRATION/MISCELLANEOUS

NAME                                               HOURS             RATE         TOTAL
ROBERT D. GORDON                                     10.60        1,225.00      12,985.00
CATHERINE L. STEEGE                                   3.90        1,225.00       4,777.50
MARC B. HANKIN                                        5.20        1,125.00       5,850.00
MELISSA M. ROOT                                       5.60          975.00       5,460.00
EMILY M. LOEB                                          .70          950.00         665.00
LANDON S. RAIFORD                                     5.50          900.00       4,950.00
CARL N. WEDOFF                                       10.40          880.00       9,152.00
TOI D. HOOKER                                         1.30          400.00         520.00
MARC A. PATTERSON                                    18.30          230.00       4,209.00
TOTAL                                                61.50                    $ 48,568.50



MATTER 10008 TOTAL                                                            $ 41,283.22




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EMPLOYMENT OF PROFESSIONALS/FEE                                                MATTER NUMBER - 10016
APPLICATIONS

 3/05/20   CNW         .50   Confer with K. Rosoff re preparation of Jenner eighth               440.00
                             interim fee application (.3); collect and circulate materials
                             for same (.2).

 3/05/20   TDH        2.30   Work on fee application exhibits.                                   920.00

 3/06/20   TDH        5.80   Work on fee application exhibits.                                  2,320.00

 3/09/20   CNW        1.70   Correspond and confer with T. Hooker and K. Rosoff re              1,496.00
                             preparation of Jenner eighth interim fee application (.5);
                             correspond with F. Del Castillo re certification of invoices
                             (.1); correspond with Hacienda counsel re payment of
                             outstanding invoices (.1); draft and revise Jenner eighth
                             interim fee application (1.0).

 3/09/20   KAR        1.90   Draft narratives for Jenner and Block Eighth Interim Fee           1,263.50
                             Application.

 3/09/20   TDH        3.60   Work on fee application exhibits and supporting                    1,440.00
                             documents.

 3/10/20   MMR         .90   Review of invoice for conformance and confidentiality.              877.50

 3/10/20   CNW        1.60   Draft and revise Jenner eighth interim fee application.            1,408.00

 3/11/20   CNW        1.20   Redact Jenner February 2020 fee statement for                      1,056.00
                             confidentiality and privilege (1.1); correspond with M.
                             Root and R. Gordon re same (.1).

 3/11/20   RDG        1.00   Review fee statement re February services for                      1,225.00
                             confidentiality and compliance with case guidelines.

 3/12/20   CNW        4.30   Revise Jenner eighth interim fee application (2.8);                3,784.00
                             correspond with Jenner team re audit and final edits (.3);
                             correspond with R. Gordon and M. Strom re pension
                             calculation for same (.2); review and redact Jenner
                             February 2020 U.S. bill for confidentiality and privilege
                             (1.0).

 3/12/20   RDG        1.60   Review and revise Jenner's Eighth Interim fee application          1,960.00
                             (1.2); email conference with K. Nicholl, M. Strom, et al.,
                             re issue (.4).

 3/13/20   CNW         .20   Correspond with Jenner team re final edits to Jenner                176.00
                             eighth interim fee application.




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 3/16/20   CNW         2.70   Prepare, revise, and finalize Jenner 8th interim fee              2,376.00
                              application (1.2); correspond with R. Gordon and M. Root
                              re same (.2); prepare notice of hearing on fee application
                              (.2); coordinate filing and service of same (.2); coordinate
                              audit and diligence of application (.9).

 3/16/20   RDG         2.40   Review, revise and further draft Eighth Interim Fee               2,940.00
                              Application for Jenner (2.2), and email conference with
                              C. Wedoff and M. Root re same (.2).

 3/18/20   CNW          .30   Review and redact Jenner on-island February 2020 fee                264.00
                              statement for confidentiality and privilege (.2);
                              correspond with M. Root re same (.1).

 3/23/20   CNW          .60   Finalize Jenner February 2020 fee statement (.4);                   528.00
                              correspond with R. Gordon re same (.1); circulate same
                              (.1).

 3/23/20   RDG          .10   Review documents and email conference with C. Wedoff                122.50
                              re fee statement for February services.

                      32.70   PROFESSIONAL SERVICES                                          $ 24,596.50


LESS 15% FEE DISCOUNT                                                                         $ -3,689.48

                                                                        FEE SUB-TOTAL        $ 20,907.02


SUMMARY OF EMPLOYMENT OF PROFESSIONALS/FEE

NAME                                                      HOURS                RATE              TOTAL
ROBERT D. GORDON                                             5.10           1,225.00            6,247.50
MELISSA M. ROOT                                               .90             975.00              877.50
CARL N. WEDOFF                                              13.10             880.00           11,528.00
KATHERINE A. ROSOFF                                          1.90             665.00            1,263.50
TOI D. HOOKER                                               11.70             400.00            4,680.00
TOTAL                                                       32.70                            $ 24,596.50



MATTER 10016 TOTAL                                                                           $ 20,907.02




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COMMITTEE GOVERNANCE AND MEETINGS                                               MATTER NUMBER - 10024

 3/02/20   RDG          .50   Prepare for March 4 meeting with Retiree Committee.               612.50

 3/04/20   CS         2.50    Attend Committee meeting (partial attendance).                  3,062.50

 3/04/20   MZH        2.00    Participated in conference call with COR.                       2,250.00

 3/23/20   RDG          .10   Email conference with M. Root re remote translation               122.50
                              services for Retiree Committee calls.

 3/27/20   RDG          .10   Email conference with F. del Castillo re Fabre letter to          122.50
                              Governor.

 3/28/20   RDG          .20   Email conference with team re next Committee meeting.             245.00

                      5.40    PROFESSIONAL SERVICES                                          $ 6,415.00


LESS 15% FEE DISCOUNT                                                                         $ -962.25

                                                                        FEE SUB-TOTAL        $ 5,452.75


SUMMARY OF COMMITTEE GOVERNANCE AND MEETINGS

NAME                                                        HOURS               RATE            TOTAL
ROBERT D. GORDON                                               .90           1,225.00          1,102.50
CATHERINE L. STEEGE                                           2.50           1,225.00          3,062.50
MARC B. HANKIN                                                2.00           1,125.00          2,250.00
TOTAL                                                         5.40                           $ 6,415.00



MATTER 10024 TOTAL                                                                           $ 5,452.75




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COMMUNICATIONS WITH RETIREES                                                              MATTER NUMBER - 10032

 3/03/20   RDG         .60   Conference with C. Wedoff re preparing summary of                           735.00
                             motion re dates and deadlines for DS and POA, for
                             March 4 Committee meeting (.1); review and revise same
                             (.2); draft email corr to F. del Castillo, et al., re same (.1);
                             email conference with N. Peralta re Committee
                             arrangements (.2).

 3/07/20   RDG         .30   Review information re activities                                  .         367.50

 3/10/20   RDG         .10   Receive and review report from A. Timmons re online                         122.50
                             pension calculator usage.

 3/11/20   RDG         .30   Email conference with communications team                                   367.50
                                                               .

 3/16/20   RDG         .10   Receive and review report from A. Timmons re online                         122.50
                             pension calculator usage.

 3/17/20   RDG         .30   Receive and review email correspondence from F. del                         367.50
                             Castillo and questions submitted by retirees via website
                             (.2); draft email correspondence to C. Steege, et al., re
                             same (.1).

 3/23/20   CS          .30   Attend call re letter t                                                     367.50

 3/23/20   MMR         .80   Participate in call with R. Gordon, M. Hankin, and C.                       780.00
                             Steege regarding communication to retiree population
                             (.3); review of same (.5).

 3/23/20   MZH        1.90   Participated in conference call with Jenner team re letter                 2,137.50
                                                      (.3); reviewed materials re same
                             (.5); Drafted letter                    (.9).

 3/23/20   RDG         .10   Receive and review report from A. Timmons re online                         122.50
                             pension calculator usage.

 3/24/20   MMR         .20   Review and comment on                      letter.                          195.00

 3/24/20   MZH         .60   Revised and distributed                        letter                       675.00

 3/24/20   CNW         .20   Review letter                                  and related                  176.00
                             correspondence.




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 3/24/20   RDG        1.30    Email and telephone conferences with H. Mayol, J.                1,592.50
                              Marchand, M. Fabre, et al., re
                              and Committee response (.8); draft proposed website
                              posting re COVID-19 relief package and email
                              conference with H. Mayol, et al., re same (.3); receive
                              and review              comments, and email
                              conference with team re same (.2).

 3/24/20   RDG        1.40    Receive and review amended proposed letter                       1,715.00
                                                  and draft further revisions (.3); email
                              conference with team re same (.3); receive and review
                              revised letter and draft further revisions (.3); email
                              conference with team re finalizing and serving same (.5).

 3/30/20   RDG          .10   Receive and review report from A. Timmons re online                122.50
                              pension calculator usage.

                      8.60    PROFESSIONAL SERVICES                                          $ 9,966.00


LESS 15% FEE DISCOUNT                                                                        $ -1,494.90

                                                                        FEE SUB-TOTAL        $ 8,471.10


SUMMARY OF COMMUNICATIONS WITH RETIREES

NAME                                                        HOURS               RATE            TOTAL
ROBERT D. GORDON                                              4.60           1,225.00          5,635.00
CATHERINE L. STEEGE                                            .30           1,225.00            367.50
MARC B. HANKIN                                                2.50           1,125.00          2,812.50
MELISSA M. ROOT                                               1.00             975.00            975.00
CARL N. WEDOFF                                                 .20             880.00            176.00
TOTAL                                                         8.60                           $ 9,966.00



MATTER 10032 TOTAL                                                                           $ 8,471.10




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PENSION ANALYSIS                                                                MATTER NUMBER - 10059

 3/13/20   RDG          .20   Email conference with M. Strom re pension liabilities.           245.00

                        .20   PROFESSIONAL SERVICES                                           $ 245.00


LESS 15% FEE DISCOUNT                                                                         $ -36.75

                                                                        FEE SUB-TOTAL         $ 208.25


SUMMARY OF PENSION ANALYSIS

NAME                                                        HOURS                RATE          TOTAL
ROBERT D. GORDON                                               .20            1,225.00          245.00
TOTAL                                                          .20                            $ 245.00



MATTER 10059 TOTAL                                                                            $ 208.25




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FISCAL PLAN/PLAN OF ADJUSTMENT                                                           MATTER NUMBER - 10067

 3/01/20   RDG         .10   Review file                               , and draft email to K.          122.50
                             Nicholl, et al., re same.

 3/01/20   RDG         .20   Email conference with S. Millman                                           245.00


 3/02/20   RDG         .10   Further email conference with K. Nicholl                                   122.50


 3/02/20   RDG         .80   Telephone conference with P. Possinger re amended DS                       980.00
                             and POA and related issues (.3); email conference with
                             F. del Castillo, et al., and analysis re
                                                                      (.5).

 3/03/20   CNW        1.60   Review and analyze UCC classification objection (.7);                     1,408.00
                             correspond with R. Gordon re legal research re same
                             (.5); prepare summary of dates and deadlines for plan
                             and disclosure statement (.3); correspond with R. Gordon
                             re same (.1).

 3/03/20   RDG        1.70   Receive and review UCC motion                                             2,082.50
                                                                  , analyze issues
                             (1.0); email conference with S. Millman, et al., re same
                             (.1); email conference with team re same and preparing a
                             response (.4); conference with M. Bienenstock re issues
                             (.2).

 3/04/20   MXP         .80   Retrieve cases cited in the Motion for Entry of an Order                   184.00
                             Reclassifying Class 39A and 41 Claims Under Oversight
                             Board's Plan

 3/04/20   MXP         .60   Prepare binder with index for cases cited in the Motion                    138.00
                             for Entry of an Order Reclassifying Class 39A and 41
                             Claims Under Oversight Board's Plan


 3/05/20   RDG         .50   Tel conference with H. Mayol re March 9 meeting in San                     612.50
                             Juan (.1); analyze same (.1); telephone conference with
                             S. Gumbs re same (.1); telephone conference with C.
                             Steege re same and related matters (.2).

 3/09/20   RDG        1.00   Prepare for meetings                                .                     1,225.00

 3/11/20   MMR        2.00   Review of UCC motion re classification (1.1); confer with                 1,950.00
                             C. Wedoff regarding same (.2); review of C. Wedoff
                             research (.7).




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3/11/20   CNW        1.30   Confer with R. Gordon                                    (.2);         1,144.00
                            prepare                                   same for M. Root (1.0);
                            review K. Nicholl update                             (.1).

3/12/20   RDG         .60   Draft email correspondence to M. Bienenstock, et al.,                   735.00
                                                         (.1); email conference
                                                   (.1); analyze related issues (.4).

3/12/20   ATS         .20   Conferred with L. Raiford                                               114.00


3/13/20   CS          .20   Telephone conference with M. Root re classification                     245.00
                            motion.

3/13/20   RDG        1.50   Receive and review report                            and               1,837.50
                            analyze issues.

3/13/20   RDG         .30   Review report from K. Nicholl                                           367.50


3/16/20   CS         1.00   Telephone conference with Jenner team                                  1,225.00


3/16/20   MMR        1.00   Phone conference among J&B team                                         975.00


3/16/20   MZH        1.00   Telephone call with Jenner team                                        1,125.00


3/16/20   LSR        1.00   Participated in Jenner team call                                        900.00

3/16/20   LSR         .30   Participate (partial attendance) in all professional call.              270.00

3/16/20   CNW        1.00   Participate in Jenner team call                                         880.00

3/16/20   CNW        1.00   Participate in all professional call (.9);                              880.00
                            correspond with M. Patterson re circulation of pleadings
                            to Jenner and Bennazar teams (.1).

3/16/20   RDG        1.00   Participate in internal Jenner conference call                         1,225.00


3/17/20   CNW        1.50   Conduct legal research                                                 1,320.00


3/17/20   RDG         .10   Receive and review report                                               122.50
                                                                            .

3/18/20   MMR         .70   Review of plan                                                          682.50




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3/18/20   RDG         .70   Tel conference with H. Mayol and F. del Castillo re             857.50
                            pleadings and notices being received by retirees (.3);
                            begin to research same (.4).

3/19/20   MMR        2.60   Legal research in connection with response to UCC              2,535.00
                            motion (1.8); work on outline of same (.8).

3/19/20   RDG        1.20   Review, analyze motions for pre-solicitation procedures        1,470.00
                            and for DS hearing date and procedures, and documents
                            received by retirees.

3/20/20   RDG        2.30   Further review, analyze issues re pre-solicitation             2,817.50
                            procedures motion and notice of return date and motion
                            to set DS hearing date (1.3); email conf with
                                re same (.2); email conference with H. Mayol, M.
                            Schell, et al., re press statements and Retiree Committee
                            website postings re same (.8).

3/21/20   CNW         .20   Review reports on adjournment of consideration of               176.00
                            disclosure statement (.1); correspond with Jenner team
                            re same (.1).

3/21/20   RDG         .70   Email conference                  re adjournment of             857.50
                            Disclosure Statement hearing (.1); receive and review
                            press statement re same (.2); email conference with
                            Committee and professionals re same (.2); review Bond
                            Buyer article re same (.2).

3/22/20   MMR         .20   E-mails with Jenner team                                        195.00
                            and review of same.

3/23/20   MMR         .90   Work on response to UCC motion.                                 877.50

3/23/20   LSR         .40   Reviewed motion to delay disclosure statement and plan.         360.00

3/23/20   RDG         .60   Receive and review FOMB's motion to adjourn DS                  735.00
                            hearing and related dates (.3); review prior scheduling
                            order (.1); draft email correspondence to Committee
                            professionals re same (.2).

3/23/20   RDG         .50   Receive and review report and pleadings re UCC motion           612.50
                            and monolines' cross-motions re Rule 2019 disclosures
                            (.4); email conference with M. Hankin and C. Wedoff re
                            same (.1).

3/24/20   CS          .30   Telephone conference                                and         367.50
                            plan of adjustment.




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3/24/20   MMR        1.10   Phone conference with C. Wedoff regarding UCC motion             1,072.50
                                                              (.2); work on same
                            (.9).

3/24/20   CNW        2.80   Conduct research                    in preparation for call      2,464.00
                            with M. Root (1.1); call with M. Root re same (.2);
                            continue                research (1.5).

3/25/20   CNW        1.10   Correspond with M. Root re opposition to classification           968.00
                            motion (.3); conduct research in support of same (.8).

3/25/20   RDG         .30   Receive and review message from M. Fabre                          367.50
                                                       (.1); further analyze (.1);
                            email conference with H. Mayol
                                              (.1).

3/26/20   MMR         .80   Research                            in connection with 1122       780.00
                            objection.

3/26/20   RDG         .60   Receive and review email correspondence from K.                   735.00
                            Rifkind                                          , and
                            draft email correspondence to team re same (.3); review
                            file and draft email correspondence to Proskauer and
                            team                            and scheduling a
                            conference call for next week re issues (.3).

3/27/20   CS          .10   Review GO stay order.                                             122.50

3/27/20   CS          .20   Email re         review.                                          245.00

3/27/20   MMR        4.80   Continued research and work on objection to UCC                  4,680.00
                            classification motion.

3/27/20   CNW        4.50   Review AMPR and John Mudd responses to UCC                       3,960.00
                            classification motion (.4): draft and revise objection to
                            UCC classification motion (2.4); conduct additional
                            research in support of same (1.3); correspond with M.
                            Root re same (.2); correspond with Jenner and FOMB
                            counsel                                   (.2).

3/27/20   RDG         .50   Analysis and email conferences with K. Rifkind, S.                612.50
                            Gumbs, et al.,                               (.3); email
                            conference with team re call
                                      (.2).

3/28/20   MMR        3.40   Continued work on drafting objection to UCC motion.              3,315.00

3/28/20   CNW        5.20   Review and revise opposition to UCC classification               4,576.00
                            motion (2.9); conduct targeted research for same (2.0);
                            correspond with M. Root re same (.3).



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 3/28/20   RDG          .10   Email conference with S. Millman                                 122.50

 3/28/20   RDG          .40   Email conference with team re scheduling of meetings             490.00
                                                              (.3); email conference
                              with Proskauer re meeting (.1).

 3/29/20   MMR          .70   Work on objection to UCC motion.                                 682.50

 3/29/20   CNW        1.30    Further review and revise opposition to UCC                    1,144.00
                              classification motion (.5); conduct      research for
                              same (.6); correspond with N. Sombuntham and M. Root
                                        (.2).

 3/29/20   RDG          .10   Email conference with M. Root re status of draft                 122.50
                              Objection to UCC motion to consolidate unsecured
                              claims and retiree claims under POA.

 3/30/20   CS           .20   Work on response to Committee classification motion.             245.00

 3/30/20   CNW          .20   Correspond with M. Hankin                                        176.00


 3/30/20   RDG          .30   Telephone conference with S. Millman                             367.50

                                    (.2); follow-on email conference with S. Millman
                              and M. Artz          (.1).

 3/31/20   MMR        1.80    Review of emails and comments                                  1,755.00
                              (.4) and participate in call to discuss same (1.4).

 3/31/20   MZH        2.30    Participated in conference call with COR professionals         2,587.50
                                                           (1.4); prepared for call
                              resame (.9).

 3/31/20   SEH        1.40    Reviewed comments                        (.4); telephone       1,260.00
                              conference with professionals re same (1).

 3/31/20   CNW        1.40    Participate in COR professionals' call                         1,232.00


 3/31/20   RDG        1.80    Review, analyze proposed revisions                             2,205.00
                                                       (1.2); participate in conference
                              call with team re same (1.4); follow-up email conference
                              with K. Rifkind (.1); email conference with team
                                       (.1).

                     71.10    PROFESSIONAL SERVICES                                       $ 71,266.50


LESS 15% FEE DISCOUNT                                                                     $ -10,689.98



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                                                                  FEE SUB-TOTAL   $ 60,576.52


SUMMARY OF FISCAL PLAN/PLAN OF ADJUSTMENT

NAME                                               HOURS                 RATE         TOTAL
ROBERT D. GORDON                                     18.00            1,225.00      22,050.00
CATHERINE L. STEEGE                                   2.00            1,225.00       2,450.00
MARC B. HANKIN                                        3.30            1,125.00       3,712.50
MELISSA M. ROOT                                      20.00              975.00      19,500.00
SARAH E. HADDY                                        1.40              900.00       1,260.00
LANDON S. RAIFORD                                     1.70              900.00       1,530.00
CARL N. WEDOFF                                       23.10              880.00      20,328.00
ADAM T. SWINGLE                                        .20              570.00         114.00
MARC A. PATTERSON                                     1.40              230.00         322.00
TOTAL                                                71.10                        $ 71,266.50



MATTER 10067 TOTAL                                                                $ 60,576.52




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GO BONDS ISSUES                                                                MATTER NUMBER - 10083

 3/17/20   LSR          .50   Reviewed Assured motion re reconsideration of decision           450.00
                              to stay GO litigation.

 3/26/20   LSR          .40   Reviewed stay order to C. Steege and report back.                360.00

 3/31/20   MMR          .20   E-mail with L. Raiford and C. Steege regarding GO                195.00
                              bonds issue.

 3/31/20   CNW          .20   Correspond with C. Stretch re bondholder tracking status         176.00
                              and next steps.

                      1.30    PROFESSIONAL SERVICES                                         $ 1,181.00


LESS 15% FEE DISCOUNT                                                                        $ -177.15

                                                                       FEE SUB-TOTAL        $ 1,003.85


SUMMARY OF GO BONDS ISSUES

NAME                                                       HOURS             RATE              TOTAL
MELISSA M. ROOT                                               .20           975.00              195.00
LANDON S. RAIFORD                                             .90           900.00              810.00
CARL N. WEDOFF                                                .20           880.00              176.00
TOTAL                                                        1.30                           $ 1,181.00



MATTER 10083 TOTAL                                                                          $ 1,003.85




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ERS BONDS ISSUES                                                             MATTER NUMBER - 10091

 3/01/20   CS         4.00   Prepare for argument.                                          4,900.00

 3/01/20   LEP        7.20   Worked on ERS deposition preparation,                          4,212.00


 3/01/20   MMR         .40   Multiple e-mails with government and committee parties          390.00
                             regarding discovery disputes and correspondence.

 3/01/20   LSR        5.30   Edited Crown deposition outline (4.5); commented on            4,770.00
                             letter                                 (.8).

 3/02/20   RRP        3.00   Finished review                                                3,675.00
                                                                               and
                             conducted moot court.

 3/02/20   CS         8.00   Prepare for oral argument.                                     9,800.00

 3/02/20   CS         2.00   Participate in moot court for oral argument.                   2,450.00

 3/02/20   MXP        2.40   Gather and organized documents for the Oaktree                  552.00
                             deposition.

 3/02/20   MXP        1.50   Gather and organized documents for the Crown                    345.00
                             deposition.

 3/02/20   MXP         .30   Arrange for binder with Crown deposition documents to               69.00
                             be delivered to L. Raiford at hotel in Puerto Rico.

 3/02/20   MXP        1.40   Prepare binders for L. Raiford and L. Pelanek with              322.00
                             documents for the Crown deposition.

 3/02/20   LEP         .40   Worked on bondholder witness files.                             234.00

 3/02/20   LEP        8.30   Reviewed Fiscal Agent production.                              4,855.50

 3/02/20   MMR        2.80   Prepare for (.8) and participate in moot court on 926          2,730.00
                             issue (2.0).

 3/02/20   MMR         .40   Review of revised scheduling proposal for admin claims          390.00
                             (.3) and e-mails on same (.1).

 3/02/20   MMR        2.50   Work out outlines for ERS bondholder depositions (1.8);        2,437.50
                             review of transcripts from Friday depositions (.7).

 3/02/20   LSR        4.00   Prepared for C. Steege moot court on trustee appeal (.8);      3,600.00
                             attended moot re same (2.0); reviewed research
                                             (1.2).



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3/02/20   CNW         .90   Prepare for ERS depositions (.6) and correspond with M.             792.00
                            Root and L. Raiford re same (.3).

3/02/20   CWB        2.20   Prepared for (.2) and attended moot court (2.0).                   1,925.00

3/02/20   GKG        1.80   Participated in moot court.                                        1,557.00

3/02/20   TJP         .30   Researched specialized databases to obtain requested                106.50
                            information for L. Pelanek.

3/02/20   TDH        1.00   Distribute documents to E. Au at Paul Hastings.                     400.00

3/02/20   TDH        1.40   Gather documents for deposition preparation.                        560.00

3/03/20   CS         3.00   Prepare for argument.                                              3,675.00

3/03/20   CS         1.50   Argue § 926 appeal.                                                1,837.50

3/03/20   MXP         .80   Prepare Oaktree deposition documents for delivery to                184.00
                            Proskauer's NYC office.

3/03/20   MXP         .80   Prepare Crown deposition documents for delivery to                  184.00
                            Proskauer's NYC office.

3/03/20   MXP        5.30   Gather and organized documents for the Oaktree                     1,219.00
                            deposition.

3/03/20   MXP        1.60   Prepare binders for M. Root and L. Pelanek with                     368.00
                            documents for the Crown deposition.

3/03/20   LEP        2.10   Worked on bondholder witness file preparation.                     1,228.50

3/03/20   LEP        8.50   Reviewed documents for ERS issues and deposition                   4,972.50
                            preparation.

3/03/20   CNW        6.30   Prepare for Boyer deposition (1.1); attend deposition of J.        5,544.00
                            Boyer (5.2).

3/03/20   RDG         .90   Email conference with C. Steege re First Circuit hearing           1,102.50
                            re appointment of section 926 trustee (.1); receive and
                            review report re same (.3); conference with M.
                            Bienenstock re same (.2); receive and review notice of
                            errata correction re First Circuit 1/30 opinion (.1); receive
                            and review First Circuit order denying rehearing en banc
                            re section 552 ruling (.1) and email correspondence to
                            team re same (.1).

3/03/20   TDH        1.00   Gather         documents for team review.                           400.00




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3/04/20   MXP        4.20   Gather and organized documents for the Oaktree                      966.00
                            deposition.

3/04/20   MXP         .30   Arrange for binder with Crown deposition documents to                   69.00
                            be prepared and delivered to L. Raiford in Jenner's New
                            York office.

3/04/20   MXP         .50   Prepare Oaktree deposition documents for delivery to                115.00
                            Proskauer's NYC office.

3/04/20   LEP        1.50   Worked on issues related to Oaktree deposition                      877.50
                            preparation with M. Root.

3/04/20   LEP        3.10   Reviewed Bondholder third party documents for witness              1,813.50
                            file preparation.

3/04/20   MMR        8.30   Prepare for Mikes deposition (4.3); participate by                 8,092.50
                            telephone in Cao deposition (4.0).

3/04/20   LSR         .80   Reviewed email traffic re status of depositions.                    720.00

3/04/20   CNW        6.20   Prepare for Cao deposition (1.1); attend deposition of S.          5,456.00
                            Cao (5.1).

3/04/20   ATS        3.00   Researched                                                         1,710.00

3/04/20   ATS        1.40   Reviewed P. Dowd deposition transcript.                             798.00

3/04/20   TDH        1.00   Gather                   documents for team review.                 400.00

3/05/20   CS         1.00   Telephone conference with R. Gordon                         .      1,225.00

3/05/20   LEP        6.90   Prepared for (1.4) and participated in Oaktree 30(b)(6)            4,036.50
                            deposition (5.5).

3/05/20   LEP        1.30   Reviewed          production in advance of Cancel                   760.50
                            deposition.

3/05/20   MMR        8.40   Prepare to take Mikes deposition (2.4); take Mikes                 8,190.00
                            deposition (5.5); conference with Government and
                            Committee parties (.3); phone conference with Jones
                            Day regarding del Castillo deposition (.2).

3/05/20   LSR        6.30   Prepared for Crown deposition.                                     5,670.00

3/05/20   RDG         .20   Telephone conference with C. Steege                                 245.00

3/05/20   ATS        2.50   Researched                                                         1,425.00




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3/06/20   LEP        8.50   Prepared for (1.5) and participated in Crown and                     4,972.50
                            Andalusian depositions (7.0).

3/06/20   MMR         .50   E-mail with L. Raiford regarding deposition scheduling                487.50
                            (.1); e-mails with ERS party regarding numerous
                            discovery and scheduling issues (.4).

3/06/20   LSR        8.00   Final prep for Crown deposition (1.0); took 30(b)(6)                 7,200.00
                            deposition of Crown funds (3.5); attended deposition of
                            Andalusian Capital (3.5).

3/06/20   MLS         .30   Reviewed correspondence from Jones Day                                270.00


3/06/20   ATS        2.10   Researched                                         (1.8);            1,197.00
                            corresponded with L. Raiford (.3).

3/06/20   TDH         .90   Gather                   documents for team review.                   360.00

3/07/20   LEP        1.30   Reviewed                  documents for witness file.                 760.50

3/08/20   LEP        5.60   Reviewed documents for bondholder deposition                         3,276.00
                            preparation.

3/09/20   CS         1.00   Office conference with L. Raiford and M. Root re ERS                 1,225.00
                            strategy.

3/09/20   LEP        7.60   Reviewed documents for Fiscal Agent and PR Funds                     4,446.00
                            deposition preparation.

3/09/20   MMR        3.30   Review of transcripts and documents (.3), confer with M.             3,217.50
                            Root and L. Raiford                           (1.0), work
                            on discovery issues (1.2), plan for upcoming depositions
                            (.8).

3/09/20   LSR        3.00   Reviewed Fiscal Agent document production (2.0); office              2,700.00
                            conference with M. Root and C. Steege re strategy (1.0).

3/09/20   TDH        1.00   Gather                   documents for team review.                   400.00

3/09/20   TDH        1.60   Gather documents for deposition preparation.                          640.00

3/10/20   CS          .40   Emails re F. del Castillo deposition.                                 490.00

3/10/20   LEP         .60   Joined conference call re Bondholder deposition issues.               351.00

3/10/20   LEP        2.20   Worked on                                 letter            and      1,287.00
                            circulated draft.




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3/10/20   LEP        3.20   Reviewed documents                                                     1,872.00
                                .

3/10/20   LEP        3.70   Reviewed documents for fiscal agent deposition                         2,164.50
                            preparation.

3/10/20   MMR        3.30   Work on multiple ERS issues-review of deposition                       3,217.50
                            transcripts (.9), draft discovery letters (1.0), review of
                            documents (1.1), correspond with committee and
                            government parties (.3).

3/10/20   LSR        4.20   Addressed outstanding issues                                           3,780.00
                                   (.2); looked into issues
                                                                (1.5); edited production
                            letter to bondholders (1.9); call with plaintiff team re same
                            (.6).

3/10/20   TDH         .90   Gather documents for deposition preparation.                            360.00

3/11/20   LEP        2.10   Looked into                                   and searched for         1,228.50
                                                                      by same.

3/11/20   LEP        3.30   Reviewed documents                                      and            1,930.50
                            circulated update.

3/11/20   MMR        1.20   E-mails among committee and government parties                         1,170.00
                            regarding a variety of discovery issues; work on
                            discovery letter.

3/11/20   LSR        3.10   Worked on topics for upcoming Fiscal Agent deposition.                 2,790.00

3/11/20   TDH         .70   Gather documents for deposition preparation.                            280.00

3/11/20   TDH         .90   Gather                   documents for team review.                     360.00

3/12/20   CS          .20   Emails re depositions.                                                  245.00

3/12/20   CS          .60   Attend call re ERS depositions.                                         735.00

3/12/20   LEP        6.20   Reviewed                    documents                    .             3,627.00

3/12/20   MMR        1.20   Phone call with Government and Committee parties                       1,170.00
                            regarding depositions (.6); review and finalize discovery
                            letter (.4); review of various e-mails regarding myriad
                            discovery issues (.2).

3/12/20   LSR        1.80   Prepared for call                            (.6); call with same      1,620.00
                            (1.2).




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3/12/20   MLS         .80   Reviewed and analyzed draft correspondence                     720.00



3/13/20   CS          .80   Telephone conference with Jones Day re Francisco De            980.00
                            Castillo deposition.

3/13/20   CS          .40   Review motion re stipulation re ERS Administrative             490.00
                            claim.

3/13/20   LEP        4.30   Reviewed Del Castillo documents for significance.             2,515.50

3/13/20   MMR        1.30   Phone call with ERS bondholder counsel regarding              1,267.50
                            depositions (.8); various e-mails regarding deposition
                            scheduling and continued schedules and review of draft
                            proposals (.5).

3/13/20   LSR        3.90   Edited letter to bondholders re privilege issues (2.6);       3,510.00
                            communications re supplement to interrogatory
                            responses (1.3).

3/13/20   MLS         .40   Conferred with L. Raiford re                                   360.00


3/14/20   LEP        2.70   Reviewed Del Castillo documents                               1,579.50

3/15/20   LEP        3.10   Reviewed Del Castillo documents                               1,813.50

3/16/20   LEP         .40   Compiled documents f                                           234.00


3/16/20   LEP        8.60   Worked on issues related to bondholder depositions.           5,031.00

3/16/20   MMR         .60   E-mails with Government and Committee parties                  585.00
                            regarding adjustments in schedule (.3); review of
                            informative motion (.2); additional e-mails (.1).

3/16/20   LSR        2.50   Reviewed schedule for litigation ERS claims (.7); worked      2,250.00
                            on Glendon/Altair deposition outline (1.8).

3/17/20   LEP        7.70   Reviewed documents                                            4,504.50
                                       .

3/17/20   MMR        1.30   Review of revised schedule proposal and comment on            1,267.50
                            same, e-mails with ERS team.

3/17/20   LSR         .30   Reviewed joint discovery motion.                               270.00

3/18/20   CS          .60   Emails re various filings re ERS schedule.                     735.00




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3/18/20   LEP        1.20   Compiled and summarized key documents                              702.00


3/18/20   LSR         .40   Reviewed ERS bondholder admin claim.                               360.00

3/18/20   LSR        2.50   Review of documents                                     d         2,250.00
                            (1.2); prepared for Altair/Glendon deposed (1.3).

3/18/20   CNW         .20   Correspond with Jenner team re 1st Circuit registration            176.00
                            and filing issues.

3/19/20   CS          .60   Reviewed 1st Circuit § 926 decision (.4) and emails re             735.00
                            same (.2).

3/19/20   CS          .20   Emails re ERS schedule.                                            245.00

3/19/20   MXP         .50   Download third party documents                                     115.00


3/19/20   LEP        3.10   Compiled, summarized and circulated significant                   1,813.50
                            documents

3/19/20   MMR        1.10   Review                                                            1,072.50
                                                                      (.8); e-mails with
                            L. Pelanek and L. Raiford on same (.3).

3/19/20   LSR         .50   Reviewed correspondence re document productions t                  450.00


3/19/20   LSR         .50   Reviewed L. Pelanek summary                                        450.00


3/19/20   CNW         .40   Review 1st Circuit 926 decision (.3); correspond with              352.00
                            Jenner team re same (.1).

3/19/20   RDG        1.50   Receive and review First Circuit opinion affirming District       1,837.50
                            Court and denying ERS bondholders' motion for
                            appointment of section 926 trustee (1.3); draft email
                            correspondence to Retiree Committee and professionals
                            re same (.2).

3/20/20   CS          .60   Participate in ERS scheduling call.                                735.00

3/20/20   CS          .30   Emails re retiree questions.                                       367.50

3/20/20   CS         1.00   Telephone conference                                              1,225.00


3/20/20   CS          .30   Prepare 1st Circuit ruling summary.                                367.50




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3/20/20   MXP         .40   Review case files for productions                                       92.00


3/20/20   MXP        1.10   Organize and update deposition files.                               253.00

3/20/20   LEP        1.10   Worked on issues related to Glendon preparation.                    643.50

3/20/20   LEP        4.10   Worked on review of documents                                      2,398.50


3/20/20   MMR        2.80   Review of ERS document production issue and e-mails                2,730.00
                            with internal team on same (.6); review of del Castillo
                            documents (.5); phone call with Government and
                            Committee parties (.5); review of correspondence
                                                                           (.8); review
                            of 17-00213 docket                                  (.4).

3/20/20   MMR         .60   Review of First Circuit decision affirming Judge Swain              585.00
                            (.5) and e-mail with group (.1).

3/20/20   LSR        7.60   Continue investigation                                             6,840.00
                                          (2.8); continue to work on Altair/Glendon
                            30(b)(6) outline (4.3); call with plaintiff team re discovery
                            schedule (.5).

3/20/20   RDG         .20   Email conference with C. Steege, M. Schell, et al., re              245.00
                            press statement re First Circuit denial of section 926
                            trustee motion.

3/21/20   LEP        1.00   Reviewed                   third party production.                  585.00

3/22/20   LEP        4.30   Reviewed                    third party production.                2,515.50

3/23/20   CS          .50   Attend call with Board re ERS scheduling.                           612.50

3/23/20   MXP         .60   Update deposition inventory chart.                                  138.00

3/23/20   LEP        4.70   Reviewed                   third party production.                 2,749.50

3/23/20   MMR         .80   Phone call with Government and Committee parties (.2);              780.00
                            email with C. Steege and L. Raiford on same (.2); review
                            of court order on DS in connection with possible
                            adjustments to schedule (.2); review of F. del Castillo
                            materials (.2).

3/23/20   LSR         .60   Looked into                                     production          540.00
                            (.4); plaintiff call re changes to discovery schedule (.2).

3/24/20   CS          .20   Respond re scheduling email.                                        245.00




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3/24/20   MXP        1.50   Update deposition exhibit index.                                        345.00

3/24/20   LEP        1.40   Reviewed                    third party production.                     819.00

3/24/20   MMR         .60   E-mails with Committee and Government parties                           585.00
                            regarding schedules and review of same (.2); review of
                            correspondence from D. Fox                     (.4).

3/24/20   RDG         .20   Telephone conference with C. Steege re status of                        245.00
                            matters, issues.

3/25/20   MXP        1.20   Update deposition exhibit index.                                        276.00

3/25/20   MXP         .20   Organize and update deposition files for J. Mikes.                          46.00

3/25/20   MXP         .20   Download deposition files for J. Mikes.                                     46.00

3/25/20   LEP        2.10   Reviewed                    third party production.                    1,228.50

3/25/20   MMR        2.40   Coordinate with C. Wedoff on research for objection (.3);              2,340.00
                            work on same (2.1).

3/25/20   MMR        2.00   Review of joint status report (.2); outline various                    1,950.00
                            discovery issues and tasks for internal meeting (.6);
                            review of admin motion (1.2).

3/25/20   LSR         .40   Reviewed updated drafts to joint status report re litigation            360.00
                            schedule.

3/26/20   CS         1.00   Attend planning meeting with M. Root and L. Raiford re                 1,225.00
                            open assignments.

3/26/20   CS          .10   Email with board's attorney                                             122.50

3/26/20   MXP         .50   Gather documents to send to Francisco del Castillo for                  115.00
                            review.

3/26/20   LEP        2.10   Reviewed bondholder third party production.                            1,228.50

3/26/20   MMR        2.10   Phone conference with C. Steege and L. Raiford                         2,047.50
                            regarding multiple ERS issues and tasks (1.0); review of
                            documents and e-mail to F. del Castillo regarding same
                            (.6); review of         research
                                              (.5).

3/26/20   LSR        5.70   Review Jones Day response                                              5,130.00
                                                                        (2.0); put together
                            chart
                                                                                  (2.7); call
                            with M. Root and C. Steege re same (1.0).



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3/26/20   ATS         .50   Call with L. Raiford                                            (.3);        285.00
                            analyzed Jones Day letter                               (.2).

3/27/20   MXP         .50   Prepare documents to send to Francisco del Castillo for                      115.00
                            review.

3/27/20   MMR         .80   Participate in     call with Government and                                  780.00
                            Committee parties.

3/27/20   LSR        7.10   Worked on chart                                                             6,390.00

                                 (3.7); call
                                           (.8); call with M. Slachetka
                                                        (.8); drafted letter to
                            bondholders re same (1.8).

3/27/20   MLS         .80   Conferred with L. Raiford                                                    720.00



3/27/20   MLS         .90   Performed review of case law                                                 810.00


3/28/20   MMR         .40   Review                             e-mail with team                          390.00
                            and Government and Committee parties on same.

3/28/20   ATS        2.00   Researched                                                                  1,140.00

3/30/20   MMR        1.00   Review of document production                                                975.00
                                                            ; work on letter re
                            same; confer with L. Raiford                 ; email
                            with Government and Committee parties.

3/30/20   LSR        3.00   Finalized chart s                                                           2,700.00
                                                   (.3); drafted outline of responses t
                                                     (2.7).

3/30/20   TDH         .90   Gather          documents for team review.                                   360.00

3/30/20   TDH         .50   Quality control checked new data loaded into Relativity                      200.00
                            database.

3/31/20   MMR         .80   Phone conference                                                  (.2)       780.00
                            review of materials relating to same (.6).

3/31/20   LSR        4.70   Continue preparing chart t                                                  4,230.00

                                                                  (4.5); phone call with A.
                            Swingle (.2).




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 3/31/20   ATS          .20   Call with L. Raiford                                           114.00

                     367.70   PROFESSIONAL SERVICES                                     $ 275,604.00


LESS 15% FEE DISCOUNT                                                                   $ -41,340.60

                                                                        FEE SUB-TOTAL   $ 234,263.40


SUMMARY OF ERS BONDS ISSUES

NAME                                                     HOURS                RATE           TOTAL
ROBERT D. GORDON                                            3.00           1,225.00         3,675.00
RONALD R. PETERSON                                          3.00           1,225.00         3,675.00
CATHERINE L. STEEGE                                        28.30           1,225.00        34,667.50
MELISSA M. ROOT                                            50.90             975.00        49,627.50
LANDON S. RAIFORD                                          76.20             900.00        68,580.00
MICHELE L. SLACHETKA                                        3.20             900.00         2,880.00
CARL N. WEDOFF                                             14.00             880.00        12,320.00
CLIFFORD W. BERLOW                                          2.20             875.00         1,925.00
GABRIEL K. GILLETT                                          1.80             865.00         1,557.00
LAURA E. PELANEK                                          135.50             585.00        79,267.50
ADAM T. SWINGLE                                            11.70             570.00         6,669.00
TOI D. HOOKER                                              11.80             400.00         4,720.00
TRICIA J. PEAVLER                                            .30             355.00           106.50
MARC A. PATTERSON                                          25.80             230.00         5,934.00
TOTAL                                                     367.70                        $ 275,604.00



MATTER 10091 TOTAL                                                                      $ 234,263.40




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NON-WORKING TRAVEL TIME                                                         MATTER NUMBER - 10105

 3/02/20   CS          2.00   Travel to Boston.                                               2,450.00

 3/03/20   CS          4.00   Travel to Chicago.                                              4,900.00

 3/03/20   LSR         7.00   Travel from Chicago to San Juan for omnibus hearing.            6,300.00

 3/03/20   RDG         5.50   Travel from NY to San Juan for omnibus hearings and             6,737.50
                              Retiree Committee meeting.

 3/04/20   LEP         5.30   Traveled to New York City for bondholder depositions.           3,100.50

 3/04/20   MMR         3.50   Travel from Chicago to New York.                                3,412.50

 3/04/20   LSR         6.50   Traveled from San Juan to New York for depositions.             5,850.00

 3/05/20   MMR         3.50   Travel from New York to Chicago.                                3,412.50

 3/05/20   RDG         5.00   Return travel from Puerto Rico.                                 6,125.00

 3/07/20   LEP         4.80   Traveled back to Chicago.                                       2,808.00

 3/07/20   LSR         4.30   Travel back to Chicago from New York.                           3,870.00

 3/09/20   RDG        10.50   Travel to and from San Juan.                                   12,862.50

                      61.90   PROFESSIONAL SERVICES                                         $ 61,828.50


LESS 50% FEE DISCOUNT                                                                      $ -30,914.25

                                                                       FEE SUB-TOTAL        $ 30,914.25


SUMMARY OF NON-WORKING TRAVEL TIME

NAME                                                    HOURS                 RATE              TOTAL
ROBERT D. GORDON                                          21.00            1,225.00           25,725.00
CATHERINE L. STEEGE                                        6.00            1,225.00            7,350.00
MELISSA M. ROOT                                            7.00              975.00            6,825.00
LANDON S. RAIFORD                                         17.80              900.00           16,020.00
LAURA E. PELANEK                                          10.10              585.00            5,908.50
TOTAL                                                     61.90                             $ 61,828.50


MATTER 10105 TOTAL                                                                          $ 30,914.25




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COURT HEARINGS                                                                MATTER NUMBER - 10121

 3/04/20   CS         1.00   Attend court hearing re disclosure statement, hearing          1,225.00
                             dates and mediator report (partial attendance).

                      1.00   PROFESSIONAL SERVICES                                         $ 1,225.00


LESS 15% FEE DISCOUNT                                                                       $ -183.75

                                                                      FEE SUB-TOTAL        $ 1,041.25


SUMMARY OF COURT HEARINGS

NAME                                                      HOURS               RATE            TOTAL
CATHERINE L. STEEGE                                         1.00           1,225.00          1,225.00
TOTAL                                                       1.00                           $ 1,225.00



MATTER 10121 TOTAL                                                                         $ 1,041.25




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CHALLENGES TO PROMESA                                                              MATTER NUMBER - 10130

 3/08/20   RDG          .20   Receive and review report re Supreme Court grant of                    245.00
                              extension to file certiorari petition re First Circuit ruling re
                              FOMB's scope of authority.

                        .20   PROFESSIONAL SERVICES                                                 $ 245.00


LESS 15% FEE DISCOUNT                                                                               $ -36.75

                                                                         FEE SUB-TOTAL              $ 208.25


SUMMARY OF CHALLENGES TO PROMESA

NAME                                                         HOURS                  RATE             TOTAL
ROBERT D. GORDON                                                .20              1,225.00             245.00
TOTAL                                                           .20                                 $ 245.00



MATTER 10130 TOTAL                                                                                  $ 208.25




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CLAIMS ISSUES                                                                  MATTER NUMBER - 10164

 3/06/20   CNW          .20   Review claim objections and correspond with K. Rosoff            176.00
                              re review of same.

 3/17/20   RDG        1.30    Review Assured motion to lift stay to litigate GO claim        1,592.50
                              allowance issues (.8), further analyze issues (.2), and
                              receive and review of entered order denying motion (.3).

 3/20/20   MMR          .90   Work on response to UCC motion.                                  877.50

 3/30/20   MMR        1.10    Review of AFT objection (.1); review                           1,072.50
                                       (1.0).

                      3.50    PROFESSIONAL SERVICES                                         $ 3,718.50


LESS 15% FEE DISCOUNT                                                                        $ -557.78

                                                                       FEE SUB-TOTAL        $ 3,160.72


SUMMARY OF CLAIMS ISSUES

NAME                                                    HOURS                 RATE             TOTAL
ROBERT D. GORDON                                          1.30             1,225.00           1,592.50
MELISSA M. ROOT                                           2.00               975.00           1,950.00
CARL N. WEDOFF                                             .20               880.00             176.00
TOTAL                                                     3.50                              $ 3,718.50



MATTER 10164 TOTAL                                                                          $ 3,160.72




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ERS DECLARATORY JUDGMENT ADVERSARY                                            MATTER NUMBER - 10199
PROCEEDING

 3/03/20   MMR        8.50   Participate in Boyer deposition by telephone (3.8); review      8,287.50
                             of                              productions
                                                                            (2.7);
                             revisions to outlines (1.8).

                      8.50   PROFESSIONAL SERVICES                                         $ 8,287.50


LESS 15% FEE DISCOUNT                                                                      $ -1,243.13

                                                                      FEE SUB-TOTAL        $ 7,044.37


SUMMARY OF ERS DECLARATORY JUDGMENT ADVERSARY

NAME                                                   HOURS               RATE               TOTAL
MELISSA M. ROOT                                          8.50             975.00             8,287.50
TOTAL                                                    8.50                              $ 8,287.50



MATTER 10199 TOTAL                                                                         $ 7,044.37




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ECONOMIC AND DISASTER RECOVERY ANALYSIS                                        MATTER NUMBER - 10245

 3/17/20   RDG          .40   Receive and review report                                        490.00


 3/23/20   RDG          .70   Receive and review report re Governor's relief package           857.50
                              relative to COVID-19 (.4); email conference with team re
                              same (.3).

                      1.10    PROFESSIONAL SERVICES                                         $ 1,347.50


LESS 15% FEE DISCOUNT                                                                        $ -202.13

                                                                       FEE SUB-TOTAL        $ 1,145.37


SUMMARY OF ECONOMIC AND DISASTER RECOVERY ANALYSIS

NAME                                                    HOURS                 RATE             TOTAL
ROBERT D. GORDON                                          1.10             1,225.00           1,347.50
TOTAL                                                     1.10                              $ 1,347.50



MATTER 10245 TOTAL                                                                          $ 1,145.37




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EMPLOYMENT OF PROFESSIONALS/FEE                                               MATTER NUMBER - 10253
APPLICATIONS (NON-JENNER PROFESSIONALS)

 3/04/20   CNW         .60   Correspond with M. Root re redactions to COR                       528.00
                             professionals fee statements (.1); finalize Bennazar
                             December 2019 fee statement (.4); correspond with F.
                             Del Castillo re certification of COR professionals invoices
                             (.1).

 3/05/20   MXP         .80   Review invoices to reconcile expenses for preparing                184.00
                             exhibit for Jenners' Eighth Interim Fee Application.

 3/05/20   MXP         .20   Update the professional interim fee statement chart.                   46.00

 3/05/20   MXP         .30   Update professional interim fee statement and fee                      69.00
                             application files.

 3/05/20   CNW         .20   Correspond with N. Sombuntham                              .       176.00

 3/06/20   MXP        1.90   Prepare travel expense breakdown for exhibit F to                  437.00
                             Jenner's eighth fee application.

 3/06/20   MXP        2.90   Prepare draft exhibits F, H and I to Jenner's Eighth Fee           667.00
                             Application.

 3/09/20   CNW         .40   Correspond with F. Del Castillo, N. Sombuntham, and Y.             352.00
                             Sanchez re preparation of COR eighth interim fee
                             applications (.3); correspond with M. Root re
                             miscellaneous fee issues (.1).

 3/10/20   MMR         .40   Review correspondence from C. Wedoff re draft fee                  390.00
                             applications and at attachments.

 3/10/20   CNW        3.90   Draft Marchand eighth interim fee application (2.8);              3,432.00
                             revise redactions in Bennazar January 2020 fee
                             statement for confidentiality and privilege (.9); confer and
                             correspond with M. Root, N. Sombuntham, and M.
                             Hancock                          (.2).

 3/11/20   MMR         .60   Review of redactions for confidentiality purposes.                 585.00

 3/11/20   CNW         .40   Finalize and circulate Bennazar January 2020 fee                   352.00
                             statement.

 3/13/20   MMR         .80   Review of status of various professional fee applications.         780.00




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3/13/20   CNW        2.70   Correspond with Y. Sanchez re revisions to Marchand              2,376.00
                            eighth interim fee application (.1); review revisions to
                            same (.3); review and revise Segal eighth interim fee
                            application (.5); correspond with G. Bridges re same (.1);
                            review and revise FTI eighth interim fee application (.6);
                            correspond with N. Sombuntham re same (.1); review
                            and redact Segal February 2020 invoice for
                            confidentiality and privilege (.6); review and revise
                            Bennazar eighth interim fee application (.3); correspond
                            with F. Del Castillo re same (.1).

3/16/20   MXP        1.90   U.S. mail service of fee applications.                            437.00

3/16/20   MXP         .60   Quality control check service copies of fee applications.         138.00

3/16/20   MXP        1.40   Served overnight via UPS copies of fee applications to            322.00
                            Judge and Trustee.

3/16/20   MXP        2.40   U.S. mail service of notices of fee applications.                 552.00

3/16/20   MXP         .50   Prepare email service of fee applications.                        115.00

3/16/20   MXP         .70   Prepare email service of notices of fee applications.             161.00

3/16/20   MMR         .80   Final review of fee applications.                                 780.00

3/16/20   CNW        2.40   Finalize Segal 8th interim fee application (.5); finalize        2,112.00
                            Bennazar 8th interim fee application (.4); finalize
                            Marchand 8th interim fee application (.4); finalize FTI 8th
                            interim fee application (.4); prepare notices of hearing on
                            fee applications (.5); coordinate filing and service of
                            same (.2).

3/17/20   MXP         .80   Prepare certificate of service re service of fee                  184.00
                            applications.

3/17/20   MXP         .80   Prepare certificate of service re service of notices of fee       184.00
                            applications.

3/18/20   MMR         .60   Prepare and review budgets                                        585.00

3/18/20   CNW        1.20   Review and redact Marchand February 2020 fee                     1,056.00
                            statement for confidentiality and privilege (1.0);
                            correspond with M. Root re circulation of COR
                            professionals' fee statements (.1); correspond with M.
                            Root re COR professionals' budgets (.1).

3/22/20   MMR         .70   Review of confidential reactions in various fee                   682.50
                            statements.




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 3/22/20   CNW          .30   Correspond with M. Root re general COR fee statement               264.00
                              issues (.2); correspond with Hacienda counsel re
                              invoices due for payment (.1).

 3/23/20   MMR          .30   Work on certification matters, fee statements.                     292.50

 3/23/20   CNW          .30   Correspond with M. Root, Fee Examiner's counsel, and               264.00
                              F. Del Castillo re procedural and logistical questions for
                              certification and submission of COR professional fee
                              statements.

 3/24/20   CNW        1.00    Finalize Marchand February 2020 fee statement and                  880.00
                              supporting materials (.4); finalize Segal February 2020
                              fee statement and supporting materials (.4); correspond
                              with F. Del Castillo re same (.1); circulate fee statements
                              to Hacienda counsel (.1).

 3/26/20   CNW          .30   Correspond with Fee Examiner counsel and Jenner team               264.00
                              re collection of backup materials for Fee Examiner
                              review.

 3/27/20   MXP          .30   Gather the expense backup from Eighth Interim fee                     69.00
                              application for the Examiners review.

 3/27/20   CNW          .40   Correspond with Fee Examiner counsel and Jenner team               352.00
                              re collection of backup materials for Fee Examiner review
                              (.2); collect same (.2).

 3/30/20   MMR          .10   Review of Fee Examiner communication.                                 97.50

 3/30/20   CNW          .60   Correspond with Jenner staff re fee examiner information           528.00
                              request (.2); collect same (.2); correspond with Fee
                              Examiner's counsel re same (.2).

 3/31/20   CNW          .20   Correspond with Jenner staff re fee examiner information           176.00
                              request (.1); correspond with Fee Examiner's counsel re
                              same (.1).

                     34.70    PROFESSIONAL SERVICES                                         $ 20,869.50


LESS 15% FEE DISCOUNT                                                                        $ -3,130.43

                                                                        FEE SUB-TOTAL       $ 17,739.07




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SUMMARY OF EMPLOYMENT OF PROFESSIONALS/FEE

NAME                                                 HOURS             RATE          TOTAL
MELISSA M. ROOT                                         4.30          975.00        4,192.50
CARL N. WEDOFF                                         14.90          880.00       13,112.00
MARC A. PATTERSON                                      15.50          230.00        3,565.00
TOTAL                                                  34.70                     $ 20,869.50



MATTER 10253 TOTAL                                                               $ 17,739.07
                                                             TOTAL INVOICE      $ 485,553.12


SUMMARY OF PROFESSIONAL SERVICES

NAME                                               HOURS                RATE         TOTAL
ROBERT D. GORDON                                     66.00           1,225.00      80,850.00
RONALD R. PETERSON                                    3.00           1,225.00       3,675.00
CATHERINE L. STEEGE                                  44.00           1,225.00      53,900.00
MARC B. HANKIN                                       13.00           1,125.00      14,625.00
MELISSA M. ROOT                                     100.40             975.00      97,890.00
EMILY M. LOEB                                          .70             950.00         665.00
SARAH E. HADDY                                        1.40             900.00       1,260.00
LANDON S. RAIFORD                                   102.10             900.00      91,890.00
MICHELE L. SLACHETKA                                  3.20             900.00       2,880.00
CARL N. WEDOFF                                       76.10             880.00      66,968.00
CLIFFORD W. BERLOW                                    2.20             875.00       1,925.00
GABRIEL K. GILLETT                                    1.80             865.00       1,557.00
KATHERINE A. ROSOFF                                   1.90             665.00       1,263.50
LAURA E. PELANEK                                    145.60             585.00      85,176.00
ADAM T. SWINGLE                                      11.90             570.00       6,783.00
TOI D. HOOKER                                        24.80             400.00       9,920.00
TRICIA J. PEAVLER                                      .30             355.00         106.50
MARC A. PATTERSON                                    61.00             230.00      14,030.00
TOTAL                                               659.40                      $ 535,364.00




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CLIENT NUMBER:         57347



     OFFICIAL COMMITTEE OF RETIREES IN THE                                      APRIL 27, 2020
     COMMONWEALTH OF PUERTO RICO                                            INVOICE # 9527425
     MIGUEL FABRE
     PUERTO RICO




FOR PROFESSIONAL SERVICES RENDERED                                                 $ 30,785.00
THROUGH MARCH 31, 2020:

     LESS 15% FEE DISCOUNT                                                          $ -4,617.76

                                                           FEE SUB-TOTAL           $ 26,167.24

DISBURSEMENTS                                                                             $ .00

                                                            TOTAL INVOICE          $ 26,167.24
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OFFICIAL COMMITTEE OF RETIREES IN THE
COMMONWEALTH OF PUERTO RICO
MIGUEL FABRE
PUERTO RICO

CLIENT NUMBER: 57347

FOR PROFESSIONAL SERVICES RENDERED
THROUGH MARCH 31, 2020:


COMMITTEE GOVERNANCE AND MEETINGS                                                 MATTER NUMBER - 10024

 3/03/20   RDG          .80   Conference with C. Wedoff re preparing summary of                   980.00
                              motion re dates and deadlines for DS and POA, for
                              March 4 Committee meeting (.1); review and revise same
                              (.2); draft email correspondence to F. del Castillo, et al.,
                              re same (.1); email conference with N. Peralta re
                              Committee arrangements (.2).

 3/04/20   RDG         4.20   Further prepare for (.7) and participate in (3.5)                 5,145.00
                              Committee meeting.

                       5.00   PROFESSIONAL SERVICES                                            $ 6,125.00


LESS 15% FEE DISCOUNT                                                                           $ -918.75

                                                                        FEE SUB-TOTAL          $ 5,206.25


SUMMARY OF COMMITTEE GOVERNANCE AND MEETINGS

NAME                                                     HOURS                 RATE               TOTAL
ROBERT D. GORDON                                           5.00             1,225.00             6,125.00
TOTAL                                                      5.00                                $ 6,125.00



MATTER 10024 TOTAL                                                                             $ 5,206.25




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FISCAL PLAN/PLAN OF ADJUSTMENT                                                  MATTER NUMBER - 10067

 3/03/20   RDG          .90   Review prior related research relevant to UCC motion            1,102.50
                              and further analyze response (.7); telephone conference
                              with S. Millman           (.2).

 3/04/20   RDG        2.50    Attend meeting                                                  3,062.50


 3/09/20   RDG        5.50    Attend meetings                                                 6,737.50


                      8.90    PROFESSIONAL SERVICES                                         $ 10,902.50


LESS 15% FEE DISCOUNT                                                                       $ -1,635.38

                                                                       FEE SUB-TOTAL         $ 9,267.12


SUMMARY OF FISCAL PLAN/PLAN OF ADJUSTMENT

NAME                                                  HOURS                  RATE               TOTAL
ROBERT D. GORDON                                        8.90              1,225.00            10,902.50
TOTAL                                                   8.90                                $ 10,902.50



MATTER 10067 TOTAL                                                                           $ 9,267.12




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ERS BONDS ISSUES                                                               MATTER NUMBER - 10091

 3/03/20   LSR        1.00   Reviewed communications re recently taken depositions.           900.00

                      1.00   PROFESSIONAL SERVICES                                           $ 900.00


LESS 15% FEE DISCOUNT                                                                       $ -135.00

                                                                       FEE SUB-TOTAL         $ 765.00


SUMMARY OF ERS BONDS ISSUES

NAME                                                          HOURS            RATE           TOTAL
LANDON S. RAIFORD                                               1.00          900.00           900.00
TOTAL                                                           1.00                         $ 900.00



MATTER 10091 TOTAL                                                                           $ 765.00




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COURT HEARINGS                                                                    MATTER NUMBER - 10121

 3/03/20   LSR        6.80   Prepare for (1.0) and attend (5.8) omnibus hearing.                6,120.00

 3/03/20   RDG        1.00   Prepare for March 4 omnibus hearings.                              1,225.00

 3/04/20   RDG        4.50   Further prepare for (.5) and partial attendance of (4.0)           5,512.50
                             omnibus hearings.

                     12.30   PROFESSIONAL SERVICES                                            $ 12,857.50


LESS 15% FEE DISCOUNT                                                                         $ -1,928.63

                                                                       FEE SUB-TOTAL          $ 10,928.87


SUMMARY OF COURT HEARINGS

NAME                                                  HOURS                  RATE                 TOTAL
ROBERT D. GORDON                                         5.50             1,225.00               6,737.50
LANDON S. RAIFORD                                        6.80               900.00               6,120.00
TOTAL                                                   12.30                                 $ 12,857.50



MATTER 10121 TOTAL                                                                            $ 10,928.87
                                                                  TOTAL INVOICE               $ 26,167.24


SUMMARY OF PROFESSIONAL SERVICES

NAME                                                  HOURS                  RATE                 TOTAL
ROBERT D. GORDON                                        19.40             1,225.00              23,765.00
LANDON S. RAIFORD                                        7.80               900.00               7,020.00
TOTAL                                                   27.20                                 $ 30,785.00




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CLIENT NUMBER:         57347



     OFFICIAL COMMITTEE OF RETIREES IN THE                                       MAY 29, 2020
     COMMONWEALTH OF PUERTO RICO                                            INVOICE # 9528674
     MIGUEL FABRE
     PUERTO RICO




FOR PROFESSIONAL SERVICES RENDERED                                                $ 573,941.50
THROUGH APRIL 30, 2020:

     LESS 15% FEE DISCOUNT                                                        $ -86,091.25

                                                           FEE SUB-TOTAL         $ 487,850.25

DISBURSEMENTS                                                                      $ 17,159.58

                                                            TOTAL INVOICE         $ 505,009.83
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OFFICIAL COMMITTEE OF RETIREES IN THE
COMMONWEALTH OF PUERTO RICO
MIGUEL FABRE
PUERTO RICO

CLIENT NUMBER: 57347

FOR PROFESSIONAL SERVICES RENDERED
THROUGH APRIL 30, 2020:


CASE ADMINISTRATION/MISCELLANEOUS                                               MATTER NUMBER - 10008

 4/01/20   MXP         .70   Prepare daily team circulation of key pleadings.                     161.00

 4/01/20   CNW         .20   Review litigation activity and correspond with M.                    176.00
                             Patterson re circulation of pleadings to Jenner and
                             Bennazar teams.

 4/02/20   MXP         .70   Prepare daily team circulation of key pleadings.                     161.00

 4/02/20   CNW         .20   Review litigation activity and correspond with M.                    176.00
                             Patterson re circulation of pleadings to Jenner and
                             Bennazar teams.

 4/03/20   MXP         .70   Prepare daily team circulation of key pleadings.                     161.00

 4/03/20   MXP         .30   Update files on N Drive and SharePoint with new                          69.00
                             documents from Intralinks.

 4/03/20   CNW         .20   Review litigation activity and correspond with M.                    176.00
                             Patterson re circulation of pleadings to Jenner and
                             Bennazar teams.

 4/03/20   RDG         .70   Telephone conference with H. Mayol, F. del Castillo, and             857.50
                             S. Gumbs re pending matters and Committee meeting on
                             4/8 (.3); further analyze same (.2) and email conference
                             with N. Peralta re interpreter for Committee meeting and
                             related logistics (.2).

 4/06/20   CS          .10   Emails re Committee meeting.                                         122.50

 4/06/20   MXP         .70   Prepare daily team circulation of key pleadings.                     161.00

 4/06/20   MMR         .60   Participate in weekly all professionals call.                        585.00

 4/06/20   CNW         .70   Participate in all professionals' call (.6); review litigation       616.00
                             activity and correspond with M. Patterson re circulation of
                             pleadings to Jenner and Bennazar teams (.1).




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4/06/20   RDG         .80   Prepare (.2) and participate in all-professionals                980.00
                            conference call to discuss pending matters, strategy,
                            coordination of efforts (.6).

4/07/20   MXP         .70   Prepare daily team circulation of key pleadings.                 161.00

4/07/20   CNW         .40   Correspond with R. Gordon and T. Hooker re scheduling            352.00
                            and logistical issues (.2); review litigation activity and
                            correspond with M. Patterson re circulation of pleadings
                            to Jenner and Bennazar teams (.2).

4/07/20   RDG         .20   Review file, and email conferences with T. Hooker and C.         245.00
                            Wedoff re 4/22 omnibus hearings.

4/07/20   TDH         .10   Update team calendar alerts re hearing.                              40.00

4/08/20   MXP         .70   Prepare daily team circulation of key pleadings.                 161.00

4/08/20   MXP         .70   Review docket for notices of appearance in Adversary             161.00
                            Proceeding 19-00296 to update service labels.

4/08/20   CNW         .40   Correspond with T. Hooker re case management and                 352.00
                            service questions (.2); review record re same (.1); review
                            litigation activity and correspond with M. Patterson re
                            circulation of pleadings to Jenner and Bennazar teams
                            (.1).

4/08/20   TDH         .40   Follow up re service of paper copies on parties.                 160.00

4/09/20   MXP         .70   Prepare daily team circulation of key pleadings.                 161.00

4/09/20   CNW         .40   Review protective order and stipulation (.3); correspond         352.00
                            with M. Root re same (.1).

4/09/20   TDH         .30   Communications with Relativity vendor re handling of             120.00
                            hard drive.

4/10/20   MXP         .70   Prepare daily team circulation of key pleadings.                 161.00

4/10/20   MXP         .30   Coordinate with DDC and Mailroom to arrange service of               69.00
                            the motion for order granting leave to file a supplemental
                            opposition.

4/10/20   RDG         .30   Analyze pending matters, case administration.                    367.50

4/10/20   CXS        2.50   Updated bondholder tracker with recent statements.               887.50

4/10/20   TDH         .10   Circulated draft order to chambers.                                  40.00

4/13/20   CS          .80   Attend team call re plan status.                                 980.00



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4/13/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

4/13/20   MMR         .70   Participate in weekly all professionals call.                      682.50

4/13/20   MZH         .80   Participated in weekly status and strategy meeting with            900.00
                            COR professionals.

4/13/20   LSR         .50   Participated in weekly team call (partial attendance).             450.00

4/13/20   CNW        1.90   Participate in weekly professionals' call (.8); review            1,672.00
                            docket and calendar in preparation for April 22 omnibus
                            hearing (.2); review procedures order for April 22
                            omnibus hearing (.2); correspond with R. Gordon, E.
                            Barak, and Jenner team re logistics for April 22 omnibus
                            hearing (.3); review litigation activity and correspond with
                            M. Patterson re circulation of pleadings to Jenner and
                            Bennazar teams (.2); confer with creditor
                                                                        and follow-up
                            with R. Gordon re same (.2).

4/13/20   RDG        1.00   Prepare agenda (.2) and participate (.8) in all-                  1,225.00
                            professionals conference call re pending matters.

4/13/20   RDG         .10   Receive and review message re miscellaneous creditor               122.50
                            inquiry, and email conference with C. Wedoff re same.

4/13/20   RDG         .70   Receive and review Order re omnibus hearing                        857.50
                            procedures(.3), and email conferences with C. Wedoff
                            and N. Conway re CourtCall registration and informative
                            motion preparation (.2); email conference with E. Barak,
                            et al., re oral argument (.2).

4/13/20   TDH         .60   Update case calendar.                                              240.00

4/13/20   TDH         .80   Prepare team calendar notifications with upcoming                  320.00
                            deadlines.

4/14/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

4/14/20   CNW         .20   Review litigation activity and correspond with M.                  176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

4/15/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

4/15/20   MMR         .50   Review of Law 29 opinion and correspondence on same.               487.50




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4/15/20   CNW         .60   Review litigation activity and correspond with M.                528.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams (.2); correspond with C. Steege and R.
                            Gordon re omnibus hearing logistics and planning (.2);
                            correspond with T. Hooker re case management and
                            coordination of efforts (.2).

4/15/20   RDG        1.50   Receive and review Court's opinion and ruling re Law 29         1,837.50
                            (1.3); email conference with Committee re same (.2).

4/15/20   TDH         .20   Registered C. Steege for phone appearance at 4/22                    80.00
                            hearing via Court Solutions.

4/16/20   MXP         .70   Prepare daily team circulation of key pleadings.                 161.00

4/16/20   MXP         .80   Update discovery files and deposition files on N Drive           184.00
                            and SharePoint with new documents.

4/16/20   CNW         .20   Review litigation activity and correspond with M.                176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

4/16/20   TDH         .50   Communications with Relativity vendor                            200.00


4/17/20   MXP         .70   Prepare daily team circulation of key pleadings.                 161.00

4/17/20   MXP         .30   Update files on N Drive and SharePoint with new                      69.00
                            documents from Intralinks.

4/17/20   RDG         .50   Email conferences with E. Kaye, E. Barak, C. Steege, et          612.50
                            al., re allotment of oral argument time at 4/22 hearing
                            (.2); review proposed order (.1); email conference with S.
                            Millman and K. Pasquale re same (.2).

4/17/20   TDH         .50   Communications with Relativity vendor re Jones Day               200.00
                            package.

4/19/20   CNW         .50   Correspond with R. Gordon and Jenner team re case                440.00
                            management and coordination of efforts (.2); revise
                            status tracker and action items list (.3).

4/19/20   RDG         .30   Review pending matters (.1), and email conference with           367.50
                            C. Wedoff re task list (.2).

4/20/20   CS          .60   Attend team call re plan.                                        735.00

4/20/20   MXP         .70   Prepare daily team circulation of key pleadings.                 161.00

4/20/20   MMR         .70   Participate in professionals call.                               682.50



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4/20/20   MZH         .70   Participated in COR professionals strategy and status              787.50
                            conference call.

4/20/20   LSR         .80   Participate in weekly team call (.8).                              720.00

4/20/20   CNW        1.30   Participate in all professionals' call (.8); correspond with      1,144.00
                            R. Gordon re meeting agenda (.1); prepare and
                            coordinate filing of informative motion for April 22
                            omnibus hearing (.2); correspond with R. Gordon and C.
                            Steege re same (.1); review litigation activity and
                            correspond with M. Patterson re circulation of pleadings
                            to Jenner and Bennazar teams(.1).

4/20/20   RDG         .90   Analyze and prepare agenda for all-professionals call (.2)        1,102.50
                            and participate in all-professionals call (.7).

4/20/20   RDG         .20   Work on Informative Motion for 4/22 hearings, and                  245.00
                            received and review filed document.

4/21/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

4/22/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

4/22/20   MMR         .50   Review of FOMB/AAFAF status reports.                               487.50

4/22/20   CNW         .30   Review and circulate FOMB and AAFAF status reports                 264.00
                            (.2); review litigation activity and correspond with M.
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams (.1).

4/23/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

4/23/20   CNW         .20   Review litigation activity and correspond with M.                  176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

4/24/20   MXP         .60   Prepare daily team circulation of key pleadings.                   138.00

4/24/20   CNW         .10   Review litigation activity and correspond with M.                      88.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

4/27/20   CS          .70   Telephone conference with team re status of case.                  857.50

4/27/20   MXP         .60   Prepare daily team circulation of key pleadings.                   138.00

4/27/20   MMR         .70   Participate in weekly all professionals call (partial              682.50
                            attendance) (.5) and follow up on case admin tasks (.2).




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 4/27/20   MZH          .70   Participated in COR professionals weekly status and                 787.50
                              strategy meeting.

 4/27/20   CNW        1.20    Participate in all-professionals' call (.8); correspond with      1,056.00
                              R. Gordon re agenda for same (.1); correspond with
                              Jenner team re strategy meeting (.1); correspond with R.
                              Gordon                            (.1); review litigation
                              activity and correspond with M. Patterson re circulation of
                              pleadings to Jenner and Bennazar teams (.1).

 4/27/20   RDG        1.00    Analyze and prepare agenda (.2) and participate in all-           1,225.00
                              professionals meeting re pending matters, case
                              administration (.8).

 4/28/20   MXP          .70   Prepare daily team circulation of key pleadings.                    161.00

 4/28/20   CNW          .10   Review litigation activity and correspond with M.                      88.00
                              Patterson re circulation of pleadings to Jenner and
                              Bennazar teams.

 4/29/20   MXP          .70   Prepare daily team circulation of key pleadings.                    161.00

 4/29/20   CNW          .40   Correspond with Jenner team re strategy meeting (.2);               352.00
                              review litigation activity and correspond with M. Patterson
                              re circulation of pleadings to Jenner and Bennazar teams
                              (.2).

 4/30/20   MXP          .70   Prepare daily team circulation of key pleadings.                    161.00

 4/30/20   CNW          .40   Review litigation activity and correspond with M.                   352.00
                              Patterson re circulation of pleadings to Jenner and
                              Bennazar teams (.1); update master professional task list
                              in advance of May 1 meeting (.3).

                     51.10    PROFESSIONAL SERVICES                                          $ 35,040.00


LESS 15% FEE DISCOUNT                                                                         $ -5,256.00

                                                                        FEE SUB-TOTAL        $ 29,784.00




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SUMMARY OF CASE ADMINISTRATION/MISCELLANEOUS

NAME                                                  HOURS          RATE         TOTAL
ROBERT D. GORDON                                         8.20     1,225.00      10,045.00
CATHERINE L. STEEGE                                      2.20     1,225.00       2,695.00
MARC B. HANKIN                                           2.20     1,125.00       2,475.00
MELISSA M. ROOT                                          3.70       975.00       3,607.50
LANDON S. RAIFORD                                        1.30       900.00       1,170.00
CARL N. WEDOFF                                           9.90       880.00       8,712.00
TOI D. HOOKER                                            3.50       400.00       1,400.00
CHARLOTTE M. STRETCH                                     2.50       355.00         887.50
MARC A. PATTERSON                                       17.60       230.00       4,048.00
TOTAL                                                   51.10                 $ 35,040.00



MATTER 10008 TOTAL                                                            $ 29,784.00




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EMPLOYMENT OF PROFESSIONALS/FEE                                                 MATTER NUMBER - 10016
APPLICATIONS

 4/01/20   CNW          .20   Correspond with V. Blay (Hacienda counsel) re Jenner              176.00
                              fee application questions.

 4/03/20   CNW          .40   Correspond with Jenner staff and N. Hahn re                       352.00
                              supplemental backup for Jenner & Block eighth interim
                              fee application (.3); skim draft Jenner March 2020 bill
                              (.1).

 4/03/20   TDH          .30   Gather and produce LEDES and expense documents to                 120.00
                              C. Wedoff.

 4/13/20   CNW          .20   Correspond with V. Blay and M. Root Jenner February               176.00
                              2020 fee statement questions.

 4/15/20   MMR        1.10    Review of March statement for confidentiality (.6); review      1,072.50
                              and prepare May budgets (.5).

 4/24/20   RDG        1.20    Review and revise fee statement for March services, to          1,470.00
                              ensure compliance with confidentiality requirements and
                              Court and US Trustee guidelines.

 4/27/20   CNW          .20   Correspond with N. Peralta re Jenner fee issues.                  176.00

 4/28/20   CNW        1.50    Review and redact Jenner March 2020 statement for               1,320.00
                              confidentiality and privilege (1.4); correspond with M.
                              Root re same (.1).

 4/29/20   CNW          .70   Correspond with N. Peralta and M. Root re Jenner March            616.00
                              2020 invoice status (.1); review and redact Jenner PR
                              invoice for confidentiality and privilege (.2); correspond
                              with M. Root re same (.1); correspond with V. Blay and
                              M. Root re January 2020 fee statement (.1); revise and
                              resubmit same (.2).

                      5.80    PROFESSIONAL SERVICES                                          $ 5,478.50


LESS 15% FEE DISCOUNT                                                                         $ -821.78

                                                                        FEE SUB-TOTAL        $ 4,656.72




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SUMMARY OF EMPLOYMENT OF PROFESSIONALS/FEE

NAME                                               HOURS             RATE         TOTAL
ROBERT D. GORDON                                     1.20         1,225.00       1,470.00
MELISSA M. ROOT                                      1.10           975.00       1,072.50
CARL N. WEDOFF                                       3.20           880.00       2,816.00
TOI D. HOOKER                                         .30           400.00         120.00
TOTAL                                                5.80                      $ 5,478.50



MATTER 10016 TOTAL                                                             $ 4,656.72




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COMMITTEE GOVERNANCE AND MEETINGS                                               MATTER NUMBER - 10024

 4/06/20   RDG          .40   Analyze and revise agenda for 4/8 Committee meeting               490.00
                              (.2); email conference with F. del Castillo re same and
                              receive and review revised agenda (.1); email conference
                              with N. Peralta re same and coordinating with interpreter
                              (.1).

 4/08/20   CS         1.60    Attend committee meeting (partial attendance).                  1,960.00

 4/08/20   MMR        2.20    Participate in Retiree Committee meeting.                       2,145.00

 4/08/20   CNW        2.20    Participate telephonically in retiree committee meeting.        1,936.00

 4/08/20   RDG        1.70    Participate (partially) in conference call with Retiree         2,082.50
                              Committee re pending matters, issues.

 4/23/20   RDG          .50   Draft email correspondence to Committee re 4/22                   612.50
                              hearings, status of various matters, and related issues.

                      8.60    PROFESSIONAL SERVICES                                          $ 9,226.00


LESS 15% FEE DISCOUNT                                                                       $ -1,383.90

                                                                        FEE SUB-TOTAL        $ 7,842.10


SUMMARY OF COMMITTEE GOVERNANCE AND MEETINGS

NAME                                                        HOURS               RATE            TOTAL
ROBERT D. GORDON                                              2.60           1,225.00          3,185.00
CATHERINE L. STEEGE                                           1.60           1,225.00          1,960.00
MELISSA M. ROOT                                               2.20             975.00          2,145.00
CARL N. WEDOFF                                                2.20             880.00          1,936.00
TOTAL                                                         8.60                           $ 9,226.00



MATTER 10024 TOTAL                                                                           $ 7,842.10




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COMMUNICATIONS WITH RETIREES                                                   MATTER NUMBER - 10032

 4/08/20   RDG          .20   Email conference with M. Noguera,                                245.00


 4/18/20   RDG          .30   Email conference with retiree                                    367.50
                                                                               .

 4/19/20   RDG          .30   Further email conference with retiree                            367.50


 4/20/20   RDG          .10   Receive and review further email correspondence                  122.50


                        .90   PROFESSIONAL SERVICES                                         $ 1,102.50


LESS 15% FEE DISCOUNT                                                                        $ -165.38

                                                                       FEE SUB-TOTAL         $ 937.12


SUMMARY OF COMMUNICATIONS WITH RETIREES

NAME                                                    HOURS                 RATE             TOTAL
ROBERT D. GORDON                                           .90             1,225.00           1,102.50
TOTAL                                                      .90                              $ 1,102.50



MATTER 10032 TOTAL                                                                           $ 937.12




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FISCAL PLAN/PLAN OF ADJUSTMENT                                                 MATTER NUMBER - 10067

 4/01/20   CS         2.50   Revise classification brief.                                     3,062.50

 4/01/20   RDG         .10   Email conference with K. Rifkind re telephone conference          122.50
                             on 4/2.

 4/02/20   CS         1.80   Attend meeting with Proskauer                                    2,205.00

 4/02/20   CS         1.50   Meet re       meeting and preparation.                           1,837.50

 4/02/20   CS         2.50   Revisions to classification motion.                              3,062.50

 4/02/20   MMR        4.30   Review of correspondence and edits to               (.8);        4,192.50
                             participate in call with Jenner team to discuss same (1.5);
                             participate in call with Board and Committee counsel on
                             same (1.8); follow up call with R. Gordon (.2).

 4/02/20   MZH        3.20   Prepared for conference call                    (.8);            3,600.00
                             participated in conference call with COR professionals
                                                      (1.5); participated in portion of
                             conference call with FOMB and COR professionals
                                                             (.9).

 4/02/20   CNW        2.60   Participate in planning call with Jenner, FTI, and               2,288.00
                             Bennazar
                                        (1.5); correspond with M. Hankin and N.
                             Sombuntham re same (.2); participate in portion of call

                             (.9).

 4/02/20   RDG        4.00   Review                                (.1) and telephone         4,900.00
                             conference with K. Rifkind re same (.1); participate in
                             conference call with H. Mayol, F. del Castillo, M. Hankin,
                             C. Steege, M. Root, et al.,                  (1.5);
                             participate in conference call with B. Rosen, P.
                             Possinger, K. Rifkind, H. Mayol, S. Gumbs, C. Steege, et
                             al.,                (1.8); follow-up telephone conference
                             with S. Gumbs (.1); further analyze issues (.2); email
                             conference with H. Mayol and F. del Castillo re status

                             (.1), and email correspondence to S. Gumbs re same
                             and 4/3 conference call (.1).

 4/03/20   RDG         .50   Review                        analysis (.3); email                612.50
                             conference with S. Gumbs re same (.2).

 4/04/20   CS         3.00   Revise brief re classification.                                  3,675.00




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4/04/20   CNW         .30   Correspond with R. Gordon, M. Root, and N.                       264.00
                            Sombuntham re edits to objection to classification
                            motion.

4/04/20   RDG        1.30   Begin review and analysis of draft brief in opposition to       1,592.50
                            UCC motion
                                                            .

4/05/20   CNW        1.40   Correspond with M. Root and G. Bridges re edits to              1,232.00
                            objection to classification motion (.2); review and revise
                            draft classification objection (1.0); correspond with R.
                            Gordon re same (.2).

4/05/20   RDG        5.00   Review pleadings and analyze and draft revisions to             6,125.00
                            proposed Objection of the Retiree Committee to Rule
                            3013 motion filed by the UCC re classification of general
                            unsecured and retiree claims.

4/06/20   CS         3.90   Revise Rule 3013 reply brief (3.7); correspond with M.          4,777.50
                            Root and C. Wedoff on same (.2).

4/06/20   CS          .60   Attend weekly call re strategy.                                  735.00

4/06/20   MMR        3.40   Additional research and work on objection to UCC                3,315.00
                            classification motion (3.2); phone conference with C.
                            Steege and C. Wedoff on same (.2).

4/06/20   CNW        3.70   Correspond with M. Root, G. Bridges, N. Sombuntham,             3,256.00
                            and D. Grunwald re miscellaneous UCC classification
                            motion questions (.2); conduct targeted research for
                            same (1.3); review and revise same (2.2).

4/06/20   RDG        8.30   Further draft, revise and finalize Objection to UCC's Rule     10,167.50
                            3013 motion (7.0), including email conference with C.
                            Steege and M. Root (.3); email conference with S.
                            Millman re same (.2); receive and review of filed
                            Objection, and email conference with team re same (.5);
                            receive and review AFSCME objection to UCC motion
                            (.3).

4/07/20   CS         3.00   Revise Rule 3013 reply (3.7); e-mail with R. Gordon on          3,675.00
                            same (.3).

4/07/20   MMR        2.00   Review and revise objection to UCC motion to prepare            1,950.00
                            for filing (1.2); review of motions/joinders filed by
                            bondholder groups (.6); emails with team on same (.2).

4/07/20   LSR         .60   Reviewed response to UCC's motion re plan                        540.00
                            classification.




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4/07/20   CNW        1.40   Review edits to opposition to UCC classification motion          1,232.00
                            (.4); correspond with R. Gordon and C. Steege re same
                            (.3); review as-filed opposition (.1); review Ambac motion
                            to extend deadlines re classification briefing (.1); review
                            Ambac joinder to classification motion (.2); review
                            Assured joinder to classification motion (.2) review
                            AFSCME joinder to opposition (.1).

4/07/20   RDG        8.30   Further draft, revise and finalize Objection to UCC's Rule      10,167.50
                            3013 motion, including email conference with C. Steege
                            and M. Root (7.3); email conference                   re
                            same (.2); receive and review of filed Objection, and
                            email conference with team re same (.5); receive and
                            review AFSCME objection to UCC motion (.3).

4/07/20   RDG         .20   Email conference with K. Rifkind and S. Gumbs                     245.00


4/07/20   ATS        3.30   Cite checked objection to UCC's classification motion            1,881.00
                            (2.2); corresponded with C. Steege, M. Root, and R.
                            Gordon re objection (.2); revised objection (.7); filed
                            objection (.2).

4/08/20   CS          .50   Review joinders re UCC classification motion (.4) and             612.50
                            email to team re same (.1).

4/08/20   CNW        3.80   Draft urgent motion re response to monoline insurers'            3,344.00
                            joinders (3.0); correspond with C. Steege, M. Root, and
                            L. Raiford re same (.3); prepare correspondence to
                                                            re same (.3); review
                            Mercado plan objection and correspond with R. Gordon
                            re same (.3).

4/09/20   CNW         .60   Finalize urgent motion (.3); correspond with C. Steege            528.00
                            and M. Root re same (.2); coordinate filing and service of
                            same (.1).

4/09/20   RDG         .60   Analysis and telephone conference with S. Gumbs re                735.00
                            preparing of analysis                and related issues
                            (.4); email conference with K. Rifkind, S. Gumbs, H.
                            Mayol, and F. del Castillo re 4/13 call
                                        (.2).

4/10/20   CS          .40   Office conference with M. Root re supplemental brief re           490.00
                            Rule 3013 motion.

4/10/20   MMR        1.00   Draft order on urgent motion (.2); outline supplemental           975.00
                            objection (.6); phone conference with C. Steege on same
                            (.2).




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4/10/20   CNW        7.40   Review Assured and Ambac joinders (2.0); draft                  6,512.00
                            supplemental opposition to monoline joinders (5.4).

4/11/20   MMR        1.80   Review of monoline joinders and work on supplemental            1,755.00
                            objection to same.

4/11/20   CNW        4.30   Revise supplemental opposition to monoline joinders             3,784.00
                            (4.1); correspond with M. Root re same (.2).

4/12/20   MMR        2.50   Work on supplemental objection to monoline joinders.            2,437.50

4/12/20   CNW        3.80   Review edits to supplemental opposition (.2); revise            3,344.00
                            same (2.0); correspond with R. Gordon and M. Root re
                            same (.3); further revise same (1.4).

4/12/20   RDG        4.30   Analyze Ambac and Assured joinders and Retiree                  5,267.50
                            Committee's draft supplemental objection in response
                            (4.0); email conference with team re same (.3).

4/13/20   CS         6.00   Revise supplemental Rule 3013 objection (4.0) and               7,350.00
                            review joinders (2.0).

4/13/20   MMR        1.70   Work on revisions to supplemental opposition (1.4);             1,657.50
                            review of Board filing (.3).

4/13/20   MZH        1.80   Review           comments                                       2,025.00
                            (.9); Participate in conference call with COR and FOMB
                            professionals re same (.9).

4/13/20   CNW        2.10   Revise supplemental opposition (.4); conduct targeted           1,848.00
                            research for same (.3); correspond with R. Gordon, C.
                            Steege, M. Root, and A. Swingle re same (.3); review as-
                            filed opposition (.1); review QTCB opposition brief (.2);
                            review LCDC opposition brief (.2); review FOMB
                            opposition brief (.6).

4/13/20   RDG        5.60   Further research, review and revise Supplemental                6,860.00
                            Opposition re Assured/Ambac brief in support of UCC
                            3013 motion (3.5); receive and review objections of
                            FOMB (1.3), LCDC (.5), and QTBC (.3).

4/13/20   RDG        1.80   Prepare (.5) and participate (1.0) in conference call with      2,205.00
                            B. Rosen, P. Possinger, K. Rifkind, et al.,
                                              ; follow-up analysis (.3).

4/13/20   ATS        1.40   Cited checked and revised supplemental objection to              798.00
                            Monolines' classification joinder.

4/14/20   CS          .20   Review emails re 3013 replies and consent to expand              245.00
                            page limits.



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4/14/20   CNW         .20   Review UCC and monoline requests for to extend page               176.00
                            limit for Rule 3013 briefing (.1); correspond with R.
                            Gordon and C. Steege re same (.1).

4/14/20   RDG         .20   Receive and review requests by Assured, et al., for               245.00
                            extension of page limits for reply briefs, and email
                            conference with M. Bienenstock, et al., re same.

4/15/20   CS          .30   Review Act 29 decision.                                           367.50

4/15/20   CS          .50   Telephone conference with R. Gordon re argument re                612.50
                            R.3013 (.3); conference with M. Root on same (.2).

4/15/20   MMR         .20   Phone conference with C. Steege regarding argument on             195.00
                            UCC motion.

4/15/20   RDG         .40   Draft email correspondence to Committee re                        490.00
                            Committee's supplemental objection to UCC's 3013
                            motion (.1); telephone conference with C. Steege re oral
                            argument and related matters (.3).

4/16/20   CS          .20   Review status report re Ambac R2004 request.                      245.00

4/17/20   CS          .20   Emails re R3013 hearing.                                          245.00

4/17/20   CS          .10   Email re hearing re 3013 motions.                                 122.50

4/17/20   MMR         .30   Confer with C. Steege on scheduling for argument (.1);            292.50
                            review of stipulation and e-mails on same (.3).

4/17/20   LSR         .80   Review UCC reply brief re claim classification motion.            720.00

4/17/20   CNW        1.20   Review UCC reply (.5); review correspondence re                  1,056.00
                            argument allocation (.2); review monoline replies (.3);
                            review litigation activity and correspond with M. Patterson
                            re circulation of pleadings to Jenner and Bennazar teams
                            (.2).

4/18/20   RDG        1.30   Email conference with E. Barak re allocation of oral             1,592.50
                            argument time for 4/22 hearing and analyze same (.2);
                            preliminary review of replies in support of UCC 3013
                            motion, filed on 4/17 (1.0); email conference with team re
                            4/20 conference call (.1).

4/19/20   CS         1.50   Review replies and email re argument.                            1,837.50

4/19/20   CS          .10   Email M. Bienenstock re R3013 argument.                           122.50




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4/19/20   CNW        2.80   Correspond with R. Gordon and review correspondence             2,464.00
                            among Rule 3013 motion parties re allocation of time and
                            hearing preparation (.2); continue to review Rule 3013
                            pleadings (2.1); summarize same for R. Gordon (.4);
                            correspond with Jenner team re Rule 3013 motion call
                            (.1).

4/19/20   RDG        4.60   Analysis and email conferences with M. Bienenstock and          5,635.00
                            C. Steege re coordination of arguments for 4/22 hearing
                            and related matters (.4); email conference with Jenner
                            team re 4/20 internal conference call re same (.2); review
                            reply brief of UCC, original Rule 3013 motion, and case
                            law (4.0).

4/20/20   CS         7.00   Review replies and prepare information re 3030                  8,575.00
                            argument outline.

4/20/20   CS          .60   Telephone conference with R. Gordon, C. Wedoff and M.            735.00
                            Root re 3013 hearing.

4/20/20   CS          .50   Telephone conference with FOMB counsel re 3030                   612.50
                            argument.

4/20/20   MMR        2.80   Review of 3013 reply, cases cited therein (2.2);                2,730.00
                            participate in call with team to discuss oral argument on
                            same (.6).

4/20/20   LSR         .70   Participate in Jenner call re 3013 hearing.                      630.00

4/20/20   CNW        1.10   Meeting re Rule 3013 argument strategy and preparation           968.00
                            (.6); prepare for and correspond with team re same (.5).

4/20/20   RDG        9.80   Telephone conference with M. Bienenstock, E. Barak,            12,005.00
                            and C. Steege re issues for 4/22 hearing re UCC Rule
                            3013 motion (.5); participate in conference call with C.
                            Steege, M. Root, et al., re same (.8); further review UCC
                            3013 reply, other pleadings, and case law and analyze
                            oral argument (8.5).

4/21/20   CS         1.60   Emails with R. Gordon re argument.                              1,960.00

4/21/20   CS          .80   Review                                                           980.00

4/21/20   CS         1.00   Review Assured reply                                            1,225.00

4/21/20   MMR        1.30   Research and review of cases in preparation for                 1,267.50
                            argument on 3013 motion.




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 4/21/20   CNW          3.60   Continue to review pleadings (1.0); conduct additional            3,168.00
                               targeted research in preparation for argument (1.8);
                               correspond with R. Gordon and C. Steege re Rule 3013
                               argument preparation (.5).

 4/21/20   CNW           .30   Review                 and correspond with R. Gordon re             264.00
                               same.

 4/21/20   RDG          9.50   Further review case law, pleadings, and further prepare          11,637.50
                               for 4/22 oral argument re UCC Rule 3013 motion and
                               joinders.

 4/22/20   CNW           .70   Correspond with R. Gordon and C. Steege re preparation              616.00
                               for same (.2); conduct limited research in response to R.
                               Gordon questions re same (.3); follow-up
                               correspondence with Jenner team re same (.2).

 4/27/20   RDG           .30   Receive and review reports                                          367.50
                                                                        and related issues.

                      180.80   PROFESSIONAL SERVICES                                          $ 197,645.50


LESS 15% FEE DISCOUNT                                                                         $ -29,646.83

                                                                         FEE SUB-TOTAL        $ 167,998.67


SUMMARY OF FISCAL PLAN/PLAN OF ADJUSTMENT

NAME                                                    HOURS                   RATE               TOTAL
ROBERT D. GORDON                                          66.10              1,225.00            80,972.50
CATHERINE L. STEEGE                                       40.30              1,225.00            49,367.50
MARC B. HANKIN                                             5.00              1,125.00             5,625.00
MELISSA M. ROOT                                           21.30                975.00            20,767.50
LANDON S. RAIFORD                                          2.10                900.00             1,890.00
CARL N. WEDOFF                                            41.30                880.00            36,344.00
ADAM T. SWINGLE                                            4.70                570.00             2,679.00
TOTAL                                                    180.80                               $ 197,645.50



MATTER 10067 TOTAL                                                                            $ 167,998.67




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GO BONDS ISSUES                                                                 MATTER NUMBER - 10083

 4/09/20   CNW          .50   Collect and review bondholder Rule 2019 statements                 440.00
                              (.3); circulate same to C. Stretch (.1); review litigation
                              activity and correspond with M. Patterson re circulation of
                              pleadings to Jenner and Bennazar teams (.1).

 4/10/20   CNW          .20   Correspond with C. Stretch re bondholder tracking                  176.00
                              updates (.1); review litigation activity and correspond with
                              M. Patterson re circulation of pleadings to Jenner and
                              Bennazar teams (.1).

 4/13/20   CNW          .20   Revise and circulate bondholder tracking chart.                    176.00

                        .90   PROFESSIONAL SERVICES                                             $ 792.00


LESS 15% FEE DISCOUNT                                                                          $ -118.80

                                                                        FEE SUB-TOTAL           $ 673.20


SUMMARY OF GO BONDS ISSUES

NAME                                                       HOURS               RATE              TOTAL
CARL N. WEDOFF                                                .90             880.00              792.00
TOTAL                                                         .90                               $ 792.00



MATTER 10083 TOTAL                                                                              $ 673.20




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ERS BONDS ISSUES                                                               MATTER NUMBER - 10091

 4/01/20   CS          .60   Participate in meeting with board                                735.00

 4/01/20   LEP         .30   Reviewed recent ERS production.                                  175.50

 4/01/20   MMR        2.70   Prepare (.2) and participate in phone call                      2,632.50
                                   (.6); review
                                              (1.1); work on discovery letter (.3);
                             phone call with C. Steege on ERS status (.5).

 4/01/20   LSR        7.00   Call                      on ERS matters (.6); worked on        6,300.00
                             outline summarizing bondholder claims (3.0); worked on
                             privilege issues for motion to compel (3.4).

 4/01/20   MLS         .50   Reviewed and revised draft response letter to Jones Day          450.00
                             re privilege assertions.

 4/01/20   ATS        3.20   Researched authority for motion to compel (2); drafted          1,824.00
                             outline of same (1.2).

 4/02/20   CS          .10   Emails re 1st Circuit appearance.                                122.50

 4/02/20   LEP         .60   Drafted discovery letter and circulated for revision.            351.00

 4/02/20   LEP        8.20   Reviewed ERS production                                         4,797.00
                                  .

 4/02/20   MMR        1.30   Review of discovery and work on deficiency letter (1.0);        1,267.50
                             review of research outline (.3).

 4/02/20   LSR        2.40   Looked into                                    law (.9);        2,160.00
                             edited letter to bondholders re privilege issue (1.5).

 4/02/20   TDH         .40   Prepared Steege First Circuit notice of appearance for           160.00
                             20¬1123.

 4/03/20   CS          .60   Revise discovery letter.                                         735.00

 4/03/20   CS         1.40   Meet with M. Root, L. Raiford, and J. VanDeventer re            1,715.00
                             research issues re ERS objections.

 4/03/20   LEP        1.10   Reviewed ERS production                                          643.50


 4/03/20   MMR        2.70   Review and revise ERS outline of issues (.7); participate       2,632.50
                             in call with C. Steege, L. Raiford, and J. Vandeventer to
                             discuss same (1.0); follow up work on various research
                             issues (1.0).



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4/03/20   MMR        1.80   Revise discovery letter (.6); emails with team                      1,755.00
                                                                  on same (.3); review
                            of correspondence in case relating to production (.5);
                            finalize and send same (.4).

4/03/20   LSR        4.20   Reviewed letter                                                     3,780.00
                                        (.5); prepared for Jenner call re drafting of
                            motion to dismiss bondholder claims (.6); call with M.
                            Root, C. Steege and J. VanDeventer re same (1.0);
                            looked into
                                         (.3); email communications with A. Swingle re
                            motion to compel                     (1.6).

4/03/20   JDV        1.00   Call with C. Steege, M. Root, and L. Raiford re research             780.00
                            tasks for response to bondholder claims.

4/03/20   ATS        2.80   Analyzed                                  for motion to compel      1,596.00
                            (1.3); drafted motion (1.5).

4/06/20   CS          .20   Respond re ERS scheduling issues.                                    245.00

4/06/20   LEP         .60   Worked on issue re letter                                            351.00

4/06/20   MMR         .60   Work on outline of discrete research issues (.2) and call            585.00
                            with associate to discuss same (.4).

4/06/20   LSR        7.30   Began drafting omnibus MTD all bondholder proof of                  6,570.00
                            claims and administrative claims (5.7); legal research
                                    (1.2); looked into
                                                      (.4).

4/06/20   JDV        3.70   Reviewed filings and other materials from litigation re             2,886.00
                            bondholder claims.

4/06/20   ATS        5.50   Continued analyzing                         for motion to           3,135.00
                            compel (.5); drafted motion (2.8); researched additional
                            authority for motion (2.2).

4/07/20   CS          .50   Attend call re research issues                                       612.50

4/07/20   CS          .50   Participate in ERS scheduling meeting with bondholders.              612.50

4/07/20   CS          .10   Review and comment re ERS joint status report.                       122.50

4/07/20   LEP        2.10   Reviewed and compiled                                               1,228.50
                            and circulated.




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4/07/20   MMR        2.20   Review of e-mails regarding scheduling proposal and                   2,145.00
                            phone call                         to discuss same (1.1);
                            prepare for meeting with N. Wackman and research team
                            (.3); participate in meeting (.5); e-mails with
                            Committee/government parties regarding expert and
                            scheduling issues (.3).

4/07/20   LSR        5.10   Continue drafting                  section to motion to               4,590.00
                            dismiss bondholder claims (3.0); research             for
                            inclusion in same (.7); team call re motion to dismiss (.5);
                            email local counsel re assistance with brief (.4); global
                            call re changes to litigation schedule (.5).

4/07/20   JDV         .60   Reviewed filings re bondholder claims.                                 468.00

4/07/20   NKW        1.10   Prepared for call with C. Steege, M. Root, L. Raiford                  819.50
                            reERS bondholder claim (.6); participated in call on same
                            (.5).

4/07/20   NKW        1.20   Researched                                                             894.00


4/07/20   ATS        3.10   Drafted motion to compel.                                             1,767.00

4/07/20   TDH         .30   Update service list.                                                   120.00

4/07/20   TDH         .80   Service of Objection.                                                  320.00

4/08/20   CS          .40   Review and revise ERS joint scheduling report.                         490.00

4/08/20   LEP        3.90   Reviewed ERS documents                                                2,281.50

4/08/20   MMR         .50   E-mail correspondence with Government and Committee                    487.50
                            parties regarding schedules and case issues (.3); review
                            of letter received from Jones Day (.2).

4/08/20   LSR        2.30   Continued drafting motion to dismiss bondholder claims.               2,070.00

4/08/20   NKW        1.50   Researched                                                            1,117.50

4/08/20   ATS        2.50   Drafted motion to compel.                                             1,425.00

4/09/20   CS          .10   Review discovery letter and response.                                  122.50

4/09/20   LEP         .60   Reviewed                          related to ERS claim objection       351.00

4/09/20   LEP        6.90   Reviewed ERS documents                                                4,036.50

4/09/20   MMR         .50   Phone conference with N. Wackman and L. Raiford                        487.50
                            regarding research findings.



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4/09/20   LSR        8.30   Reviewed Jones Day letter re missing document                         7,470.00
                            production (.8); continued drafting
                            section of motion to dismiss bondholder/fiscal agent
                            claims (3.6); began drafting                arguments
                            (3.9).

4/09/20   JDV        8.10   Researched case law for use in brief re bondholder                    6,318.00
                            claims.

4/09/20   NKW         .70   Researched                                                             521.50

                                                       .

4/09/20   NKW         .50   Prepared for and participated in phone call with L.                    372.50
                            Raiford re research                                 .

4/09/20   WAW         .20   Email correspondence with L. Raiford                                   126.00


4/09/20   ATS        6.60   Drafted motion to compel (5); researched additional                   3,762.00
                            authority for motion to compel (1.6).

4/09/20   TDH         .80   Service of Urgent Motion.                                              320.00

4/10/20   LEP        1.30   Reviewed ERS production                                                760.50

4/10/20   LEP         .20   Reviewed draft motion to compel                                        117.00

4/10/20   LEP        3.80   Reviewed                                  for additional support      2,223.00
                            for motion to compel.

4/10/20   MMR         .50   Review of protective order in 17-213; e-mails regarding                487.50
                            schedule and discovery issues.

4/10/20   LSR        9.20   Edit draft of motion to compel                       (3.5);           8,280.00
                            legal research re same (1.2); continue to draft motion to
                            dismiss                                             (4.3);
                            conference with L. Pelanek on same (.2). .

4/10/20   NKW        3.00   Drafted section of brief                                              2,235.00

4/10/20   ATS        2.20   Corresponded with L. Raiford re motion to compel (.2);                1,254.00
                            revised motion (.8); researched additional authority for
                            motion (1.2).

4/11/20   LEP         .80   Reviewed                       for motion to compel.                   468.00

4/11/20   LSR        2.60   Draft                         component of global                     2,340.00
                            motion to dismiss bondholder claims (1.8); legal research
                                                         (.8).



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4/12/20   LEP        2.10   Reviewed                         and added additional             1,228.50
                            citations to motion to compel and circulated.

4/13/20   LEP        2.70   Reviewed ERS documents                                            1,579.50

4/13/20   MMR        2.40   Review and comment on privilege motion (.8); review               2,340.00
                            and comment on 12(b)(6) motion/research (1.0);
                            discovery e-mails (.4); email with F. del Castillo regarding
                            documents (.2).

4/13/20   LSR        7.40   Continue drafting global motion to dismiss all bondholder         6,660.00
                            and Fiscal Agent claims (1.6); draft argument
                                                                         (1.8); edit
                            motion to compel deposition testimony (3.7); conferred
                            with MLS on                      strategy (.3).

4/13/20   MLS         .30   Conferred with L. Raiford re                      strategy         270.00
                            for motion to compel.

4/13/20   JDV        6.30   Researched case law for response to bondholder claims.            4,914.00

4/13/20   NKW        4.90   Researched                                                        3,650.50


4/13/20   ATS        1.60   Researched additional authority for motion to compel and           912.00
                            revised.

4/13/20   TDH         .20   Communications with Relativity re data incoming from                   80.00
                            Jones Day.

4/14/20   CS          .50   Review privilege discovery motion.                                 612.50

4/14/20   CS          .20   Email to S. Gumbs                                                  245.00

4/14/20   CS         1.50   Attend meeting                                                    1,837.50

4/14/20   MMR        1.50   Review of materials and participate in                 call.      1,462.50

4/14/20   MMR        1.60   E-mails with Government and Committee parties                     1,560.00
                            regarding schedules and discovery issues (.3) review
                            and comment on 12(b)(6) research (.8); prepare for call
                            with F. del Castillo (.5).

4/14/20   LSR        7.70   Draft additional arguments for dismissal of bondholder            6,930.00
                            claims (3.0); edit motion to dismiss (2.1); review
                            suggested edits to motion to compel (.3); call
                            re             analysis (1.4); review materials re same
                            (.9).




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4/14/20   MLS        1.20   Reviewed and revised draft motion to compel                               1,080.00
                                                           .

4/14/20   JDV        5.90   Researched case law for response to bondholder claims.                    4,602.00

4/14/20   NKW        1.70   Researched                                                                1,266.50


4/15/20   CS         1.00   Prepared for meeting with Francisco                                       1,225.00

4/15/20   CS         1.20   Met with Francisco                        .                               1,470.00

4/15/20   CS          .20   Revise privilege motion.                                                   245.00

4/15/20   LEP        2.60   Created chart                                          for ERS            1,521.00
                            motion to compel and circulated.

4/15/20   MMR        1.70   Phone conference with C. Steege, L. Raiford, and F. del                   1,657.50
                            Castillo regarding ERS bonds issues (1.2); review of
                            spreadsheet (.3); phone conference with L. Raiford and
                            C. Steege regarding legal strategy (.2).

4/15/20   LSR        8.30   Edit motion to dismiss all bondholder claims (6.7); call                  7,470.00
                            with M. Root and C. Steege re same (.4); call with local
                            counsel                                  (1.2).

4/15/20   JDV        6.70   Researched case law for use in response to bondholder                     5,226.00
                            claims.

4/15/20   NKW        1.90   Revised brief insert                                  in response to      1,415.50
                            comments from L. Raiford.

4/15/20   TDH         .70   Prepare certificate of service for urgent motion and                       280.00
                            objection.

4/16/20   LEP         .40   Phone conference with L. Raiford re ERS motion                             234.00


4/16/20   LEP        1.40   Revised chart                                 and circulated.              819.00

4/16/20   MMR         .50   E-mail with bondholder counsel regarding discovery                         487.50
                            issues (.2); review of draft objection (.3).




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4/16/20   LSR        7.80   Edit motion to dismiss all bondholders proofs of claim                 7,020.00
                            and administrative claims (2.5); draft                section
                            to brief (1.1); draft               section (.3); draft
                            argument
                                     (2.4); review bondholders' discovery requests
                            (.2); review privilege chart to accompany motion to
                            compel (.9); phone conference with L. Pelanek re
                            depositions (.4)

4/16/20   JDV        3.40   Researched case law for response to bondholder claims.                 2,652.00

4/16/20   NKW        3.50   Researched                                                             2,607.50


4/16/20   WAW         .60   Reviewed memorandum                                                     378.00
                                                                      (.4); conferred with L.
                            Raiford re same (.2).

4/17/20   CS          .60   Telephone conference                                                    735.00
                            and questions.

4/17/20   CS          .10   Review administrative extension motion.                                 122.50

4/17/20   MMR        1.60   Review of        analysis (1.0) and participate in call                1,560.00
                            with FTI and team on same (.6).

4/17/20   MMR         .70   E-mails regarding ERS brief and review of same.                         682.50

4/17/20   LSR        7.60   Substantive edits to motion to dismiss (5.4); review                   6,840.00
                            proposed declaration i                               (.5);
                            review research from associates in connection with
                            motion to dismiss (1.7).

4/18/20   LEP        1.90   Reviewed bondholder production and circulated key                      1,111.50
                            documents.

4/18/20   LSR        3.80   Finalize motion to dismiss draft for circulation to team.              3,420.00

4/20/20   LEP         .40   Reviewed ERS production                                                 234.00


4/20/20   LEP        8.50   Reviewed Bondholders production and circulated                         4,972.50
                            relevant documents.

4/20/20   LSR        2.50   Draft response to bondholder document requests.                        2,250.00

4/20/20   NKW        4.20   Researched                                                             3,129.00




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4/21/20   LSR        2.70   Edit            section to motion to dismiss bondholder           2,430.00
                            claims (1.7); draft response to bondholder interrogatories
                            (1.0).

4/22/20   CS          .20   Telephone conference with M. Root re revise del Castillo           245.00
                            declaration.

4/22/20   LEP         .60   Reviewed                                    and circulated         351.00
                            key points.

4/22/20   LEP        7.10   Reviewed Bondholder production and circulated key                 4,153.50
                            documents.

4/22/20   MMR         .30   Telephone conference with C. Steege regarding F. del               292.50
                            Castillo declaration (2.); and e-mail with team (.1)

4/22/20   LSR        3.10   Call with L. Pelanek re letter to bondholders re missing          2,790.00
                            production (.5); review recently produced documents and
                            modified Glendon/Altair 30(b)(6) outline in light of same
                            (2.6).

4/22/20   NKW        5.80   Researched                                                        4,321.00

                            drafted brief insert

4/22/20   RDG         .20   Receive and review First Circuit entered judgment and              245.00
                            mandate re section 926 ruling.

4/22/20   WAW        3.10   Continued researching case law re various issues for              1,953.00
                            motion to dismiss re ERS bondholder claim objection.

4/22/20   TDH        2.40   Gather ERS third party documents for team review.                  960.00

4/22/20   TDH        1.80   Transmit new data to Relativity vendor for loading.                720.00

4/23/20   CS         1.10   Revise Del Castillo declaration (.9); confer with M. Root         1,347.50
                            on same (.2).

4/23/20   LEP         .20   Phone conference with L. Raiford re Glendon                        117.00
                            documents.

4/23/20   LEP        6.40   Reviewed Bondholder production and circulated                     3,744.00
                            significant documents.

4/23/20   MMR         .70   Confer with C. Steege on ERS declaration (.2); revise              682.50
                            and circulate same (.5).

4/23/20   LSR        3.90   Edit motion to dismiss based on associate research (1.0);         3,510.00
                            continue editing Glendon/Altair outline in light of recently
                            produced documents (2.9).



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4/23/20   NKW        1.00   Researched                                                        745.00


4/23/20   WAW        7.60   Continued researching case law on various issues for             4,788.00
                            motion to dismiss re ERS bondholder claim objection
                            (6.2); prepared summary of same for L. Raiford (1.4).

4/23/20   TDH        1.00   Gather documents for deposition preparation.                      400.00

4/24/20   CS          .10   Review revised Castillo declaration.                              122.50

4/24/20   CS          .10   Telephone conference with M. Root re declaration.                 122.50

4/24/20   LEP        2.40   Drafted letter regarding Oaktree production issues and           1,404.00
                            circulated for comment.

4/24/20   LEP        6.80   Reviewed Bondholder production for key documents.                3,978.00

4/24/20   MMR         .50   Revise and circulate del Castillo declaration (.4); confer        487.50
                            with C. Steege on same (.1).

4/24/20   LSR        5.10   Edit motion to dismiss bondholder claims (3.1); edit letter      4,590.00
                            re discrepancies on bondholder production (2.0).

4/24/20   JDV        6.70   Researched case law for use in response to bondholder            5,226.00
                            claims.

4/25/20   NKW        3.20   Researched                                                       2,384.00

4/26/20   MMR         .20   Revised del Castillo deposition.                                  195.00

4/27/20   CS         1.00   Revise privilege motion.                                         1,225.00

4/27/20   CS          .20   Review and revise letter re privilege issue.                      245.00

4/27/20   LEP         .20   Reviewed and commented on draft letter re Bondholder              117.00
                            productions.

4/27/20   LEP        7.50   Reviewed Bondholder production for relevant and                  4,387.50
                            significant documents.

4/27/20   LSR        6.10   Continue editing motion to dismiss bondholder claims             5,490.00
                            (1.8); review B. Williams research re same (.5); edit
                            Francisco declaration (.5); further edits to letter re
                            bondholder production deficiencies (.8); edit motion to
                            compel deposition testimony (1.8); review letter to
                            bondholders re same (.6).

4/27/20   JDV        6.40   Researched case law for response to bondholder claims.           4,992.00




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 4/27/20   WAW        3.10    Continued researching case law re various issues for        1,953.00
                              motion to dismiss in connection with ERS bondholder
                              claim objection (2.6); prepared summary of same for L.
                              Raiford (.5).

 4/28/20   CS           .20   Review privilege log letter re ERS motion to compel.          245.00

 4/28/20   LEP        8.20    Reviewed Bondholder production for significant              4,797.00
                              documents.

 4/28/20   LEP          .90   Reviewed new GDB production for significance.                 526.50

 4/28/20   LSR        1.90    Edit Francisco declaration (.8); review W. Dalsen           1,710.00
                              privilege letter (1.1).

 4/28/20   TDH        1.00    Gather OMM documents for team review.                         400.00

 4/29/20   LEP          .60   Reviewed ERS documents                                        351.00


 4/30/20   LEP        7.60    Reviewed ERS production and raised processing issues.       4,446.00

 4/30/20   MMR          .50   Review of comments to motion on privilege issues (.3);        487.50
                              exchange e-mails with team on same (.2).

 4/30/20   LSR        6.00    Look into issues                                            5,400.00
                                          (1.3); review local counsel memo on Puerto
                              Rico law
                                     (3.2); look into
                                                             (1.5).

 4/30/20   JDV        4.40    Researched case law for use in response to bondholder       3,432.00
                              claims.

 4/30/20   ATS        2.30    Corresponded with L. Raiford re ERS bonds discovery         1,311.00
                              issue (.3); researched same (2).

                    402.30    PROFESSIONAL SERVICES                                    $ 306,823.00


LESS 15% FEE DISCOUNT                                                                  $ -46,023.45

                                                                       FEE SUB-TOTAL   $ 260,799.55




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SUMMARY OF ERS BONDS ISSUES

NAME                                                  HOURS          RATE          TOTAL
ROBERT D. GORDON                                          .20     1,225.00          245.00
CATHERINE L. STEEGE                                     12.70     1,225.00       15,557.50
MELISSA M. ROOT                                         25.00       975.00       24,375.00
LANDON S. RAIFORD                                      122.30       900.00      110,070.00
MICHELE L. SLACHETKA                                     2.00       900.00        1,800.00
JOHN D. VANDEVENTER                                     53.20       780.00       41,496.00
NATHANIEL K.S. WACKMAN                                  34.20       745.00       25,479.00
WILLIAM A. WILLIAMS                                     14.60       630.00        9,198.00
LAURA E. PELANEK                                        98.90       585.00       57,856.50
ADAM T. SWINGLE                                         29.80       570.00       16,986.00
TOI D. HOOKER                                            9.40       400.00        3,760.00
TOTAL                                                  402.30                 $ 306,823.00



MATTER 10091 TOTAL                                                            $ 260,799.55




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COURT HEARINGS                                                                 MATTER NUMBER - 10121

 4/22/20   CS         1.40   Attend omnibus hearing re Rule 3013 meeting.                    1,715.00

 4/22/20   MMR        1.00   Participate in portion of court hearing on 3013 motion.           975.00

 4/22/20   CNW        2.00   Attend omnibus hearing (partial) re Rule 3013 motion            1,760.00
                             (1.3).

 4/22/20   RDG        4.30   Further prepare and participate in telephonic omnibus           5,267.50
                             hearing (3.8); follow-up email conference with M.
                             Bienenstock and E. Barak (.2); internal follow-up email
                             conference (.3).

                      8.70   PROFESSIONAL SERVICES                                          $ 9,717.50


LESS 15% FEE DISCOUNT                                                                      $ -1,457.63

                                                                       FEE SUB-TOTAL        $ 8,259.87


SUMMARY OF COURT HEARINGS

NAME                                                       HOURS               RATE            TOTAL
ROBERT D. GORDON                                             4.30           1,225.00          5,267.50
CATHERINE L. STEEGE                                          1.40           1,225.00          1,715.00
MELISSA M. ROOT                                              1.00             975.00            975.00
CARL N. WEDOFF                                               2.00             880.00          1,760.00
TOTAL                                                        8.70                           $ 9,717.50



MATTER 10121 TOTAL                                                                          $ 8,259.87




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CLAIMS ISSUES                                                                 MATTER NUMBER - 10164

 4/08/20   MMR        1.10   Review of joinders/motions filed by bondholders (.6); e-       1,072.50
                             mail correspondence with team regarding response to
                             same (.2); review and revise urgent motion (.3).

                      1.10   PROFESSIONAL SERVICES                                         $ 1,072.50


LESS 15% FEE DISCOUNT                                                                       $ -160.88

                                                                      FEE SUB-TOTAL         $ 911.62


SUMMARY OF CLAIMS ISSUES

NAME                                                   HOURS               RATE               TOTAL
MELISSA M. ROOT                                          1.10             975.00             1,072.50
TOTAL                                                    1.10                              $ 1,072.50



MATTER 10164 TOTAL                                                                          $ 911.62




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EMPLOYMENT OF PROFESSIONALS/FEE                                               MATTER NUMBER - 10253
APPLICATIONS (NON-JENNER PROFESSIONALS)

 4/01/20   MXP         .40   Organize expense back up.                                            92.00

 4/01/20   MMR         .10   Review of communication from Hacienda and send same                  97.50
                             to team.

 4/02/20   CNW         .20   Correspond with M. Root and V. Blay re electronic                176.00
                             payment registration and payment of Jenner February
                             invoice.

 4/03/20   CNW         .20   Correspond with K. Nicholl, N. Rehak, and V. Blay re             176.00
                             electronic payment registration and payment of Segal
                             and Marchand February invoices.

 4/07/20   RDG         .30   Email conference with A.J. Bennazar, et al., re Sills            367.50
                             Cummis fee application.

 4/08/20   CNW         .20   Correspond with V. Blay and N. Rehak re electronic               176.00
                             payment processing.

 4/13/20   MMR         .20   E-mail with Hacienda counsel regarding fee matters.              195.00

 4/13/20   CNW         .20   Correspond with V. Blay and N. Rehak re fee statement            176.00
                             questions.

 4/15/20   CNW        2.30   Review and redact Bennazar February 2020 for                    2,024.00
                             confidentiality and privilege (1.1); coordinate Excel data
                             preparation for same (.1); review and redact Segal March
                             2020 invoice for confidentiality and privilege (.6);
                             correspond with M. Root re same (.2); correspond with N.
                             Rehak re payment registration (.1); prepare fee
                             certifications for Retiree Committee professionals and
                             circulate same to F. Del Castillo (.2).

 4/17/20   CNW        1.20   Review and redact Marchand ICS Group March 2020 fee             1,056.00
                             statement for confidentiality and privilege (.9);
                             correspond with V. Blay re miscellaneous fee and
                             payment questions (.1); correspond with F. Del Castillo
                             re fee statement certification (.1); correspond with M.
                             Root re same (.1).

 4/18/20   RDG         .30   Email conferences with                       M. Root re          367.50
                             status of payment of monthly invoices, issues (.2), and
                             review file re same (.1).




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 4/22/20   CNW          .30   Correspond with A. Bennazar, N. Sombuntham, V. Blay,             264.00
                              and M. Root re questions concerning fee statement
                              processing.

 4/23/20   MMR          .20   E-mails with Hacienda regarding payment issue.                   195.00

 4/26/20   CNW        1.40    Revise and finalize monthly fee statements for Segal,          1,232.00
                              Marchand, and Bennazar (1.2); correspond with M. Root
                              re same (.1); circulate to fee statement recipients (.1).

 4/27/20   CNW          .20   Correspond with N. Sombuntham and V. Blay re tax                 176.00
                              waiver issues.

 4/30/20   MMR          .10   E-mail with FTI regarding engagement letter.                        97.50

 4/30/20   CNW          .20   Correspond with M. Hancock, M. Root, and FTI re                  176.00
                              retention questions.

                      8.00    PROFESSIONAL SERVICES                                         $ 7,044.00


LESS 15% FEE DISCOUNT                                                                      $ -1,056.60

                                                                       FEE SUB-TOTAL        $ 5,987.40


SUMMARY OF EMPLOYMENT OF PROFESSIONALS/FEE

NAME                                                     HOURS                 RATE            TOTAL
ROBERT D. GORDON                                            .60             1,225.00            735.00
MELISSA M. ROOT                                             .60               975.00            585.00
CARL N. WEDOFF                                             6.40               880.00          5,632.00
MARC A. PATTERSON                                           .40               230.00             92.00
TOTAL                                                      8.00                             $ 7,044.00



MATTER 10253 TOTAL                                                                          $ 5,987.40
                                                                  TOTAL INVOICE           $ 505,009.83




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SUMMARY OF PROFESSIONAL SERVICES

NAME                                                  HOURS          RATE          TOTAL
ROBERT D. GORDON                                        84.10     1,225.00      103,022.50
CATHERINE L. STEEGE                                     58.20     1,225.00       71,295.00
MARC B. HANKIN                                           7.20     1,125.00        8,100.00
MELISSA M. ROOT                                         56.00       975.00       54,600.00
LANDON S. RAIFORD                                      125.70       900.00      113,130.00
MICHELE L. SLACHETKA                                     2.00       900.00        1,800.00
CARL N. WEDOFF                                          65.90       880.00       57,992.00
JOHN D. VANDEVENTER                                     53.20       780.00       41,496.00
NATHANIEL K.S. WACKMAN                                  34.20       745.00       25,479.00
WILLIAM A. WILLIAMS                                     14.60       630.00        9,198.00
LAURA E. PELANEK                                        98.90       585.00       57,856.50
ADAM T. SWINGLE                                         34.50       570.00       19,665.00
TOI D. HOOKER                                           13.20       400.00        5,280.00
CHARLOTTE M. STRETCH                                     2.50       355.00          887.50
MARC A. PATTERSON                                       18.00       230.00        4,140.00
TOTAL                                                  668.20                 $ 573,941.50




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CLIENT NUMBER:         57347



     OFFICIAL COMMITTEE OF RETIREES IN THE                                       JUNE 15, 2020
     COMMONWEALTH OF PUERTO RICO                                            INVOICE # 9532845
     MIGUEL FABRE
     PUERTO RICO




FOR PROFESSIONAL SERVICES RENDERED                                                $ 411,358.50
THROUGH MAY 31, 2020:

     LESS 15% FEE DISCOUNT                                                         $ -61,703.80

                                                           FEE SUB-TOTAL          $ 349,654.70

DISBURSEMENTS                                                                      $ 16,162.89

                                                            TOTAL INVOICE         $ 365,817.59
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OFFICIAL COMMITTEE OF RETIREES IN THE
COMMONWEALTH OF PUERTO RICO
MIGUEL FABRE
PUERTO RICO

CLIENT NUMBER: 57347

FOR PROFESSIONAL SERVICES RENDERED
THROUGH MAY 31, 2020:


CASE ADMINISTRATION/MISCELLANEOUS                                                MATTER NUMBER - 10008

 5/01/20   CS          1.00   Attend team call re plan.                                           1,225.00

 5/01/20   MXP          .70   Prepare daily team circulation of key pleadings.                     161.00

 5/01/20   MXP          .40   Update files on N Drive and SharePoint with new                          92.00
                              documents from Intralinks.

 5/01/20   MMR          .90   Participate in Jenner professionals meeting regarding                877.50
                              case strategy.

 5/01/20   MZH          .80   Participated in conference call with Jenner team re status           900.00
                              and strategy.

 5/01/20   CNW         1.20   Participate in Jenner strategy and planning call (.9);              1,056.00
                              prepare for same (.2); review litigation activity and
                              correspond with M. Patterson re circulation of pleadings
                              to Jenner and Bennazar teams (.1).

 5/01/20   RDG         1.00   Prepare (.1) and participate in conference call with                1,225.00
                              Jenner team re pending matters, strategy, coordination of
                              efforts (.9).

 5/04/20   MXP          .20   Update transcript files on N Drive and SharePoint.                       46.00

 5/04/20   MZH          .70   Participated in professionals' conference call (.5); review          787.50
                              of materials for same (.2).

 5/04/20   CNW          .70   Participate in all-professionals' call (.5); review litigation       616.00
                              activity and correspond with M. Patterson re circulation of
                              pleadings to Jenner and Bennazar teams (.2).

 5/04/20   EML          .50   Participated in weekly call with case team.                          475.00

 5/04/20   RDG          .70   Prepare agenda (.2) and participate in all-professionals             857.50
                              call re pending matters (.5).

 5/05/20   MXP          .70   Prepare daily team circulation of key pleadings.                     161.00



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5/06/20   MXP         .70   Prepare daily team circulation of key pleadings.                      161.00

5/06/20   CNW         .70   Review COR correspondence re retiree treatment under                  616.00
                            plan (.2); correspond with Jenner team re same (.2);
                            review litigation activity and correspond with M. Patterson
                            re circulation of pleadings to Jenner and Bennazar teams
                            (.2); correspond with F. Del Castillo re document
                            preparation (.1).

5/06/20   EML         .10   Reviewed correspondence from COR and corresponded                         95.00
                            with R. Gordon re same.

5/07/20   MXP         .70   Prepare daily team circulation of key pleadings.                      161.00

5/07/20   MXP         .80   Review master service list to update mail service list and            184.00
                            service labels for mailing of motions.

5/07/20   CNW         .20   Review litigation activity and correspond with M.                     176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

5/07/20   RDG         .30   Telephone conference with S. Gumbs re pending                         367.50
                            matters.

5/08/20   MXP         .70   Prepare daily team circulation of key pleadings.                      161.00

5/08/20   CNW         .20   Review litigation activity and correspond with M.                     176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

5/08/20   TDH         .20   Register C.Steege for appearance at 5/13 hearing.                         80.00

5/11/20   CS         1.00   Attend team call re plan and committee meeting.                      1,225.00

5/11/20   MXP         .70   Prepare daily team circulation of key pleadings.                      161.00

5/11/20   MMR        1.00   Participate in all professionals coordination call.                   975.00

5/11/20   LSR        1.00   Weekly retiree committee professional call.                           900.00

5/11/20   CNW        1.30   Participate in all professionals' call (1.0); review litigation      1,144.00
                            activity and correspond with M. Patterson re circulation of
                            pleadings to Jenner and Bennazar teams (.1);
                            correspond with T. Hooker re scheduling and logistics
                            (.2).

5/11/20   EML         .80   Participated in relevant portion of team coordination call.           760.00




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5/11/20   RDG        1.30   Prepare agenda (.2) and participate in all-professionals             1,592.50
                            call re pending matters, issues, and strategy (1.0); follow-
                            up email conference with H. Mayol (.1).

5/12/20   MXP         .70   Prepare daily team circulation of key pleadings.                      161.00

5/12/20   CNW         .40   Review FTI presentation on                                            352.00
                                               (.3); review litigation activity and
                            correspond with M. Patterson re circulation of pleadings
                            to Jenner and Bennazar teams (.1).

5/12/20   TDH         .30   Archived team email communications.                                   120.00

5/13/20   MXP         .70   Prepare daily team circulation of key pleadings.                      161.00

5/13/20   CNW         .20   Review litigation activity and correspond with M.                     176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

5/14/20   MXP         .70   Prepare daily team circulation of key pleadings.                      161.00

5/14/20   CNW         .20   Review litigation activity and correspond with M.                     176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

5/15/20   MXP         .70   Prepare daily team circulation of key pleadings.                      161.00

5/15/20   MXP         .30   Update files on N Drive and SharePoint with new                           69.00
                            documents from Intralinks.

5/18/20   CS         1.00   Attend team planning call.                                           1,225.00

5/18/20   MXP         .70   Prepare daily team circulation of key pleadings.                      161.00

5/18/20   MMR        1.20   Participate in weekly strategy call (1.0); follow up                 1,170.00
                            conference with C. Steege regarding same (.2).

5/18/20   MZH        1.00   Participated in strategy conference call with COR                    1,125.00
                            professionals.

5/18/20   CNW        1.30   Participate in all-professionals' call (1.0); review litigation      1,144.00
                            activity and correspond with M. Patterson re circulation of
                            pleadings to Jenner and Bennazar teams (.3).

5/18/20   EML        1.00   Participated in weekly team coordination call.                        950.00

5/18/20   RDG        2.20   Prepare and participate in conference call with H. Mayol,            2,695.00
                            A.J. Bennazar, et al., re Committee and case
                            administration issues (1.0); prepare (.2) and participate
                            (1.0) in all-professionals call re same.



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5/19/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

5/19/20   MXP         .30   Update files on N Drive and SharePoint with new                        69.00
                            documents from Intralinks.

5/19/20   CNW         .20   Review litigation activity and correspond with M.                  176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

5/20/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

5/21/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

5/21/20   CNW         .20   Review litigation activity and correspond with M.                  176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

5/22/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

5/22/20   CNW         .50   Review PROMESA amendments                                          440.00
                                                        (.3); review litigation activity
                            and correspond with M. Patterson re circulation of
                            pleadings to Jenner and Bennazar teams (.2).

5/26/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

5/26/20   CNW         .20   Review litigation activity and correspond with M.                  176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

5/27/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

5/27/20   TDH         .20   Register C. Steege for June hearings.                                  80.00

5/28/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

5/28/20   CNW         .20   Review litigation activity and correspond with M.                  176.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams.

5/29/20   MXP         .70   Prepare daily team circulation of key pleadings.                   161.00

5/29/20   MXP         .30   Update files on N Drive and SharePoint with new                        69.00
                            documents from Intralinks.

5/29/20   CNW         .40   Review litigation activity and correspond with M.                  352.00
                            Patterson re circulation of pleadings to Jenner and
                            Bennazar teams (.2); review case calendar and
                            correspond with Jenner team re hearing coverage (.2).




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                      41.90   PROFESSIONAL SERVICES                                 $ 30,423.50


LESS 15% FEE DISCOUNT                                                                $ -4,563.53

                                                                    FEE SUB-TOTAL   $ 25,859.97


SUMMARY OF CASE ADMINISTRATION/MISCELLANEOUS

NAME                                                 HOURS                 RATE         TOTAL
ROBERT D. GORDON                                        5.50            1,225.00       6,737.50
CATHERINE L. STEEGE                                     3.00            1,225.00       3,675.00
MARC B. HANKIN                                          2.50            1,125.00       2,812.50
MELISSA M. ROOT                                         3.10              975.00       3,022.50
EMILY M. LOEB                                           2.40              950.00       2,280.00
LANDON S. RAIFORD                                       1.00              900.00         900.00
CARL N. WEDOFF                                          8.10              880.00       7,128.00
TOI D. HOOKER                                            .70              400.00         280.00
MARC A. PATTERSON                                      15.60              230.00       3,588.00
TOTAL                                                  41.90                        $ 30,423.50



MATTER 10008 TOTAL                                                                  $ 25,859.97




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EMPLOYMENT OF PROFESSIONALS/FEE                                                 MATTER NUMBER - 10016
APPLICATIONS

 5/01/20   CNW          .70   Finalize and submit Jenner March 2020 fee statement               616.00
                              (.5); correspond with M. Root and Jenner team re same
                              (.2).

 5/05/20   CNW          .10   Correspond with F. Del Castillo re Jenner April 2020 fee             88.00
                              certification.

 5/08/20   CNW          .20   Correspond with R. Renninger and V. Blay re Jenner                176.00
                              payment status.

 5/11/20   MMR        1.10    Review of April invoice for submission/confidentiality.         1,072.50

 5/15/20   CNW          .30   Address issues raised in fee examiner letter re Jenner            264.00
                              8th interim fee application.

 5/17/20   CNW          .30   Review fee examiner comments (.2); correspond with N.             264.00
                              Peralta and M. Root re same (.1).

 5/26/20   MMR          .20   Correspondence with Fee Examiner.                                 195.00

 5/29/20   CNW        1.50    Review and redact Jenner April 2020 fee statement for           1,320.00
                              confidentiality and privilege.

 5/29/20   RDG          .80   Review, edit invoice for April services, to ensure                980.00
                              confidentiality and compliance with fee guidelines.

                      5.20    PROFESSIONAL SERVICES                                          $ 4,975.50


LESS 15% FEE DISCOUNT                                                                         $ -746.33

                                                                        FEE SUB-TOTAL        $ 4,229.17


SUMMARY OF EMPLOYMENT OF PROFESSIONALS/FEE

NAME                                                     HOURS                 RATE             TOTAL
ROBERT D. GORDON                                            .80             1,225.00             980.00
MELISSA M. ROOT                                            1.30               975.00           1,267.50
CARL N. WEDOFF                                             3.10               880.00           2,728.00
TOTAL                                                      5.20                              $ 4,975.50



MATTER 10016 TOTAL                                                                           $ 4,229.17



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COMMITTEE GOVERNANCE AND MEETINGS                                               MATTER NUMBER - 10024

 5/06/20   MMR          .20   Review of communication from committee and draft                  195.00
                              response to same.

 5/08/20   MMR        1.20    Review of inquiry from committee and proposed                   1,170.00
                              response; meeting with team to discuss same.

 5/08/20   RDG          .20   Receive and review draft agenda for 5/14 Committee                245.00
                              meeting, and email conference with F. del Castillo and H.
                              Mayol re same.

 5/10/20   RDG          .10   Email correspondence to H. Mayol, et al., re re-                  122.50
                              scheduling the 5/14 Retiree Committee meeting.

 5/11/20   RDG          .50   Email conference with H. Mayol, et al., re re-scheduling          612.50
                              of Retiree Committee call from 5/14 to 5/15 (.2), and
                              email conference with N. Peralta re translator (.1) and
                              further attention to logistics and agenda (.2).

 5/15/20   CS         2.50    Attend Committee meeting (partial).                             3,062.50

 5/15/20   MMR        2.90    Participate in committee meeting.                               2,827.50

 5/15/20   CNW        2.60    Participate in meeting of COR (partial).                        2,288.00

 5/15/20   CNW          .20   Review litigation activity and correspond with M.                 176.00
                              Patterson re circulation of pleadings to Jenner and
                              Bennazar teams.

 5/15/20   RDG        4.80    Prepare (1.1) and participate in (2.9) Committee                5,880.00
                              conference call

                                          ; further analyze issues (.4) and follow-on
                              email conferences with H. Mayol, C. Steege, M. Root, S.
                              Gumbs, et al. (.4).

 5/16/20   RDG          .20   Email conference with M. Fabre re 5/15 meeting, and               245.00
                              email conference with H. Mayol re 5/18 debrief.

                     15.40    PROFESSIONAL SERVICES                                         $ 16,824.00


LESS 15% FEE DISCOUNT                                                                       $ -2,523.60

                                                                        FEE SUB-TOTAL       $ 14,300.40




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SUMMARY OF COMMITTEE GOVERNANCE AND MEETINGS

NAME                                               HOURS             RATE         TOTAL
ROBERT D. GORDON                                      5.80        1,225.00       7,105.00
CATHERINE L. STEEGE                                   2.50        1,225.00       3,062.50
MELISSA M. ROOT                                       4.30          975.00       4,192.50
CARL N. WEDOFF                                        2.80          880.00       2,464.00
TOTAL                                                15.40                    $ 16,824.00



MATTER 10024 TOTAL                                                            $ 14,300.40




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COMMUNICATIONS WITH RETIREES                                                   MATTER NUMBER - 10032

 5/06/20   RDG          .20   Email conference with J. Lapatine re messaging for radio        245.00
                              program.

 5/26/20   RDG          .20   Receive and review analysis by A. Timmons of online             245.00
                              pension calculator usage.

                        .40   PROFESSIONAL SERVICES                                          $ 490.00


LESS 15% FEE DISCOUNT                                                                        $ -73.50

                                                                       FEE SUB-TOTAL         $ 416.50


SUMMARY OF COMMUNICATIONS WITH RETIREES

NAME                                                       HOURS                RATE          TOTAL
ROBERT D. GORDON                                              .40            1,225.00          490.00
TOTAL                                                         .40                            $ 490.00



MATTER 10032 TOTAL                                                                           $ 416.50




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FISCAL PLAN/PLAN OF ADJUSTMENT                                                         MATTER NUMBER - 10067

 5/01/20   CNW         .20   Correspond with F. Del Castillo re                               l       176.00
                             research.

 5/04/20   CNW         .40   Review Bennazar memorandum re                                            352.00
                                                   (.3); correspond with R.
                             Gordon re same (.1).

 5/04/20   RDG         .10   Email conference with D. Grunwald, et al., re 5/8                        122.50
                             conference call

 5/05/20   RDG         .10   Email conference with D. Grunwald, et al., re meeting                    122.50


 5/06/20   MZH         .20   Reviewed draft letter                .                                   225.00

 5/06/20   RDG        2.70   Receive and review email correspondence from                            3,307.50
                                                       (.2), and analyze and draft
                             email correspondence to team re same (.5); telephone
                             conference with H. Mayol re same (.5); further email
                             conference with A.J. Bennazar, C. Steege, et al. (.2);
                             telephone conference with K. Rifkind re issues (.3); draft
                             proposed response t                 and circulate to team
                             (1.0).

 5/07/20   MZH         .20   Reviewed revised letter                                                  225.00

 5/07/20   RDG         .70   Email conferences with H. Mayol, C. Steege, et al., re                   857.50
                             preparation of written response
                                    , and further analyze same (.3); receive and review
                             revisions by H. Mayol and F. del Castillo (.4).

 5/08/20   CS          .50   Telephone conference re                           response and           612.50
                             committee meeting.

 5/08/20   MZH         .80   Reviewed draft email         (.3); participated in                       900.00
                             conference call with COR professionals re same (.5).

 5/08/20   RDG        1.00   Participate in conference call with H. Mayol, C. Steege,                1,225.00
                             S. Gumbs, et al., re response to email
                             (.5); further revise and finalize response and send
                                                     (.5).

 5/11/20   CS          .80   Meet                                      re report.                     980.00

 5/11/20   MMR         .80   Participate in call with C. Steege, R. Gordon, D.                        780.00
                             Grunwald




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 5/11/20   RDG         1.00   Review file (.2) and participate in conference call                 1,225.00
                                             , D. Grunwald, C. Steege, and M. Root re
                                           (.8).

 5/15/20   LSR         1.10   Work on                                                      .        990.00

 5/20/20   CNW          .90   Review prior                              research.                   792.00

 5/21/20   RDG          .20   Email conference with H. Mayol, et al., re proposed 5/26              245.00
                              meeting

 5/22/20   RDG          .10   Further email conference with H. Mayol, et al., re                    122.50
                              meeting.

 5/27/20   RDG          .50   Receive and review report                                             612.50

                                                             (.3); telephone
                              conference with S. Gumbs re same (.2).

                      12.30   PROFESSIONAL SERVICES                                            $ 13,872.50


LESS 15% FEE DISCOUNT                                                                           $ -2,080.88

                                                                           FEE SUB-TOTAL       $ 11,791.62


SUMMARY OF FISCAL PLAN/PLAN OF ADJUSTMENT

NAME                                                     HOURS                     RATE            TOTAL
ROBERT D. GORDON                                            6.40                1,225.00          7,840.00
CATHERINE L. STEEGE                                         1.30                1,225.00          1,592.50
MARC B. HANKIN                                              1.20                1,125.00          1,350.00
MELISSA M. ROOT                                              .80                  975.00            780.00
LANDON S. RAIFORD                                           1.10                  900.00            990.00
CARL N. WEDOFF                                              1.50                  880.00          1,320.00
TOTAL                                                      12.30                               $ 13,872.50



MATTER 10067 TOTAL                                                                             $ 11,791.62




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GO BONDS ISSUES                                                                MATTER NUMBER - 10083

 5/05/20   CNW        1.00   Review revenue bond lift stay litigation materials (.6);         880.00
                             correspond with Jenner team re same (.2); Review
                             litigation activity and correspond with M. Patterson re
                             circulation of pleadings to Jenner and Bennazar teams
                             (.2).

                      1.00   PROFESSIONAL SERVICES                                           $ 880.00


LESS 15% FEE DISCOUNT                                                                       $ -132.00

                                                                       FEE SUB-TOTAL         $ 748.00


SUMMARY OF GO BONDS ISSUES

NAME                                                      HOURS               RATE            TOTAL
CARL N. WEDOFF                                              1.00             880.00            880.00
TOTAL                                                       1.00                             $ 880.00



MATTER 10083 TOTAL                                                                           $ 748.00




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ERS BONDS ISSUES                                                                MATTER NUMBER - 10091

 5/01/20   CS         1.50   Revise ERS administrative claim brief.                           1,837.50

 5/01/20   MXP         .90   Prepare exhibit list of documents and transcript                  207.00
                             references cited in motion to compel.

 5/01/20   LEP        1.70   Worked on issues related to ERS motion to compel.                 994.50

 5/01/20   LEP        2.30   Reviewed ERS production for significance.                        1,345.50

 5/01/20   LEP        1.60   Reviewed Bondholder production for significant                    936.00
                             documents.

 5/01/20   MMR        1.10   Review of Jones Day comments                                     1,072.50
                                                  (.3); review of motion to dismiss
                             ERS bondholders' admin claims (.8).

 5/01/20   LSR        7.60   Edit motion to compel deposition testimony (1.7); review         6,840.00
                             and incorporate edits                  (4.9); call with
                             team re same (1.0).

 5/01/20   ATS        1.60   Researched                                                        912.00

 5/02/20   LEP        1.10   Worked on exhibits for ERS motion to compel.                      643.50

 5/02/20   LSR         .50   Call with W. Dalsen re motion to compel.                          450.00

 5/02/20   TDH         .80   Gather OMM documents for team review.                             320.00

 5/03/20   CS         1.50   Revise privilege brief.                                          1,837.50

 5/03/20   LEP        1.50   Reviewed ERS production for significance.                         877.50

 5/03/20   LSR        2.30   Further edits to motion to compel.                               2,070.00

 5/04/20   CS          .40   Telephone conference with M. Root re administrative               490.00
                             claim motion to dismiss.

 5/04/20   CS         8.50   Edit administrative claim motion.                               10,412.50

 5/04/20   LEP         .40   Phone conference with L. Raiford re ERS motion to                 234.00
                             compel.

 5/04/20   LEP        1.30   Worked on exhibits for ERS motion to compel.                      760.50

 5/04/20   MMR        1.10   Review and comment on current draft of motion to                 1,072.50
                             dismiss (.3) and motion to compel (.4); telephone
                             conference with C. Steege on same (.4).



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5/04/20   LSR       11.40   Work with staff on preparing motion to compel for filing          10,260.00
                            (2.6); communications with L. Pelanek re F. del Castillo
                            declaration (.4); review and incorporate additional edits
                            and comments                                 (5.2);
                            substantial edits to motion to dismiss all bondholder
                            claims (3.2).

5/04/20   NKW        3.80   Researched                                                         2,831.00


5/04/20   ATS        1.80   Researched                                    (1);                 1,026.00
                            summarized same for L. Raiford (.8).

5/04/20   TDH         .20   Quality control check new data loaded.                                  80.00

5/05/20   CS         6.00   Revise motion to dismiss.                                          7,350.00

5/05/20   CS          .50   Review motion re privilege issues.                                  612.50

5/05/20   LEP        1.90   Citechecked and verified exhibits for ERS motion to                1,111.50
                            compel.

5/05/20   MMR        5.10   Review and comment on Board motion to dismiss (1.4)                4,972.50
                            and Committee motion to dismiss (2.3); e-mail with Jones
                            Day                       (.1); prepare for and participate
                            in meet and confer (.5); review and comment on motion
                            to compel (.8).

5/05/20   LSR       14.10   Continue working on motion to compel testimony (3.0);             12,690.00
                            continue editing motion to dismiss bondholder claims
                            (4.0); create chart exhibits for motion to dismiss (4.5);
                            meet and confer with bondholders re motion to compel
                            (.5); edit same                              (1.7); call with
                            co-movant            (.4).

5/05/20   WAW        1.30   Conducted cite check of motion to dismiss ERS                       819.00
                            bondholder claims (1.1); conferred with L. Raiford re
                            same (.2).

5/05/20   ATS        2.60   Cite checked motion to compel (2.2); revised same and              1,482.00
                            corresponded with L. Raiford (.4).

5/05/20   TDH        1.90   Gather OMM documents for team review.                               760.00

5/06/20   CS          .60   Telephone conference with P. Friedman                               735.00


5/06/20   CS         7.50   Revise administrative motion memo.                                 9,187.50

5/06/20   CS          .50   Telephone conference with Francisco                                 612.50



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5/06/20   MXP         .30   Update exhibits to motion to Dismiss Proof of claims and                 69.00
                            Administrative Expenses Claims with cover pages.

5/06/20   LEP        1.30   Proofread motion to compel.                                          760.50

5/06/20   LEP         .70   Phone conference with L. Raiford re issues related to                409.50
                            filings.

5/06/20   LEP        1.40   Worked on issues related to motion to compel filing.                 819.00

5/06/20   MMR        6.00   Phone conferences with C. Steege regarding edits to                 5,850.00
                            brief (.4); phone conferences with C. Steege and L.
                            Raiford on same (.5); work on review and revisions to
                            brief (3.8); prepare for (.2) and participate in (.5) phone
                            call with del Castillo                        (.5); review
                            and comment on motion to compel (.7).

5/06/20   LSR       10.80   Call with C. Steege and M. Root re multiple ERS filings             9,720.00
                            (.5); create additional summary exhibits for motion to
                            dismiss bondholder claims (3.0); draft motion to set
                            briefing schedule for motion to compel (1.0); add
                                                              to motion to compel (2.4);
                            call with F. del Castillo re declaration (.5); finalize motion
                            to compel for filing (3.4).

5/06/20   WAW        7.10   Continued cite check on motion to dismiss ERS                       4,473.00
                            bondholder claims (3.1); reviewed and revised same
                            (2.4); finalized same for filing (1.1); multiple email
                            correspondence with C. Steege, L. Raiford, and M. Root
                            re same (.5).

5/06/20   TDH        1.40   Redacted exhibits to motions.                                        560.00

5/06/20   TDH         .80   Update service list.                                                 320.00

5/06/20   TDH        1.90   Service of motions.                                                  760.00

5/07/20   CS          .40   Emails re mediation re discovery issues.                             490.00

5/07/20   CS          .30   Review                          issues.                              367.50

5/07/20   MXP         .70   U.S. mail service of motion to set briefing schedule,                161.00
                            motion to compel and motion to dismiss claims.

5/07/20   MXP         .70   UPS service of motion to set briefing schedule, motion to            161.00
                            compel and motion to dismiss claims to the United
                            States Trustee.

5/07/20   LEP         .20   Phone conference with L. Raiford re ERS motions.                     117.00




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5/07/20   MMR        1.80   Revisions to             declaration (.5); review of                   1,755.00
                            motions to dismiss/joinders (1.3).

5/07/20   LSR        2.00   Edit motion setting briefing schedule on motion to compel              1,800.00
                            (1.2); work on potential agreement
                                       (.6); phone conference with L. Pelaneck on
                            same (.2).

5/07/20   RDG         .20   Review email correspondence                                and          245.00
                            email conferences with L. Raiford re same.

5/07/20   TDH         .80   Drafted certificates of service.                                        320.00

5/07/20   TDH         .60   Update                                    service list.                 240.00

5/07/20   TDH        2.10   Service of motions.                                                     840.00

5/08/20   CS          .20   Review of           affidavit (.1) and telephone                        245.00
                            conference with M. Root (.1).

5/08/20   LEP         .30   Reviewed draft stipulation and commented.                               175.50

5/08/20   MMR        1.10   Revisions                and communication with F. del                 1,072.50
                            Castillo regarding same (.8); receive and review
                            comments from Government and committee parties (.2);
                            call with C. Steege on same (.1).

5/08/20   MMR         .30   Correspondence with government and committee parties                    292.50
                            regarding         motion to compel.

5/08/20   LSR        4.50   Edit                   declaration (1.5); review                       4,050.00
                                                                                       (1.5);
                            review stipulation re remote depositions (1.0);
                            communications                (.5).

5/08/20   WAW        2.10   Researched                                                             1,323.00
                                                         .

5/08/20   ATS         .20   Corresponded with L. Raiford re motion to compel reply,                 114.00
                            and reviewed W. Dalsen discovery letter.

5/09/20   MMR         .70   Revise and circulate                        declaration.                682.50

5/09/20   LSR         .50   Call with Board and UCC re                                              450.00

5/11/20   CS         1.10   Attend             call                                                1,347.50

5/11/20   MMR        2.20   Participate                               (1.1); follow up             2,145.00
                            call regarding same (.5); review and edit            (.4);
                            confer with C. Steege on same (.2)



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5/11/20   LSR        5.70   Edit responses to bondholder discovery requests (2.5);                   5,130.00
                            prepare                                   (2.1); call
                                     re same (1.1).

5/11/20   ATS        2.30   Researched ERS bonds                                                     1,311.00

5/12/20   CS         2.00   Attend                                                                   2,450.00

5/12/20   MMR        1.20   E-mail correspondence and preparation for Cortes                         1,170.00
                            deposition (.3); review of discovery responses (.8); and
                            e-mail with L. Raiford on same (.1).

5/12/20   MMR         .50   Review and comment on ERS discovery.                                      487.50

5/12/20   MMR        5.50   Participate                                                              5,362.50

5/12/20   LSR        8.70   Prepare                                                                  7,830.00
                                   (.7); participate                      (5.5); draft
                            language
                                              (1.2); review Oversight Board's
                            discovery responses (1.3).

5/12/20   ATS         .90   Telephone conference with L. Raiford                                      513.00
                                                        (.1); followup research
                                                       (.8).

5/12/20   TDH        1.10   Gather                                   documents for team review.       440.00

5/13/20   CS          .10   Email re             meeting.                                             122.50

5/13/20   MMR        6.50   Participate in deposition of Pedro Ortiz, including                      6,337.50
                            breakout calls with Government and Committee parties.

5/13/20   MMR         .70   Review and comment on ERS discovery.                                      682.50

5/13/20   LSR        9.90   Finalized discovery responses                                            8,910.00

                            (3.4); attended portion of deposition of former ERS
                            administrator Ortiz (5.8); worked on potential questions to
                            witness after conclusion of primary questioning (.7).

5/14/20   MMR        1.90   Phone conference with Committee/Government parties                       1,852.50
                                             (.5); review of materials related to same
                            (.1); work on ERS related matters (1.3).

5/14/20   LSR        4.70   Draft email summary of Ortiz deposition (.5); work on                    4,230.00
                            ultra vires summary judgment outline (1.5); edit
                                                          (1.6); review
                                              (.6); call with team re same (.5).




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5/14/20   WAW        1.40   Reviewed L. Raiford's draft of ultra vires summary                             882.00
                            judgment motion (.6); reviewed and revised draft
                                                 requests to ERS bondholders (.6);
                            conferred with L. Raiford re same (.2).

5/14/20   ATS         .70   Corresponded with L. Raiford                                                   399.00
                                   (.2); researched                                           (.5).

5/15/20   MMR         .70   Review of D. Fox e-mail                                                        682.50



5/15/20   LSR        3.90   Work on           strategy re motion to compel (.8); call                     3,510.00
                            with B. Williams                   (.5);
                            communications with A. Swingle re same and review of
                            research (2.6).

5/15/20   WAW         .70   Telephone call with L. Raiford                                                 441.00
                                              (.5); reviewed bondholders' preliminary
                            responses to same (.1); conferred with L. Raiford re
                            same (.1).

5/15/20   ATS        2.70   Researched                                                                    1,539.00

5/15/20   ATS        1.70   Analyzed ERS bondholders' responses to information                             969.00
                            requests                                  (1.3);
                            corresponded with L. Raiford re response to same (.4).

5/16/20   LEP        4.40   Compiled chart of bondholder deposition testimony                             2,574.00


5/16/20   LSR        6.60   Put together chart                        bondholder deposition               5,940.00
                            testimony                                            (6.0); put
                            together                                                        (.6).

5/17/20   CS          .80   Attend call re                                                                 980.00

5/17/20   CS          .40   Review                                                and comment              490.00
                            re same.

5/17/20   MMR        1.60   Participate in call                                                           1,560.00
                            (.8); review of correspondence and materials received
                            from D. Fox in connection with same (.8).

5/17/20   LSR        3.20   Prepare for call with plaintiff group                        (1.2); call      2,880.00
                            re same (.8); prepare                 (1.2).

5/18/20   CS          .50   Attend                                                                         612.50

5/18/20   CS         3.00   Attend                                                                        3,675.00



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5/18/20   MMR        4.70                 conference with government and                             4,582.50
                            committee parties (.5); participate            (3.5);
                            follow up e-mails regarding deposition scheduling
                                           (.7).

5/18/20   LSR        4.00   Government/Committee meeting                                             3,600.00
                                    (.5);
                                                   (3.5).

5/19/20   LSR        8.30   Draft list of to-do items                                                7,470.00
                                                (.8); review materials re
                                                                                  (1.8); edit
                            Glendon/Altair deposition outlines
                                                                                (5.7).

5/19/20   WAW         .30   Email correspondence with L. Raiford                                      189.00
                                                       .

5/20/20   CS          .50   Attend call re              research (.3); review of same (.2).           612.50

5/20/20   LSR        5.10   Prepared for Glendon/Altair deposition (4.3); plaintiff call             4,590.00
                                                             (.3); discovery call with
                            bondholders (.5).

5/20/20   WAW        4.30   Researched                                                               2,709.00
                                                                                         (3.1);
                            reviewed                                                      for
                            summary judgment motion (1.2).

5/21/20   CS         1.00   Attend call                                                              1,225.00

5/21/20   CS          .20   Email re                                 re bonds                         245.00
                                          .

5/21/20   LEP         .30   Phone conference with L. Raiford re bondholder                            175.50
                            deposition preparation.

5/21/20   LEP        3.60   Worked on exhibits and outline for bondholder                            2,106.00
                            deposition.

5/21/20   MMR        1.00   Phone conference with ERS team                                            975.00


5/21/20   LSR        8.60   Continued drafting 30(b)(6) deposition outlines (4.9);                   7,740.00
                            finalized              declaration (.4); call
                                      (1.0); edited 30(b)(6) outlines
                            (2.3).

5/21/20   WAW         .80   Analyzed                                                                  504.00
                                       (.6); conferred with L. Raiford re same (.2).



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5/22/20   CS          .10   Email with L. Raiford re depositions.                                   122.50

5/22/20   LEP        1.30   Worked on exhibits and outline for bondholder                           760.50
                            deposition.

5/22/20   LEP        5.10   Reviewed bondholder productions for relevance and                      2,983.50
                            significance.

5/22/20   MMR         .70   Work on various ERS discovery matters.                                  682.50

5/22/20   LSR        4.10   Reviewed documents to be used as exhibits in upcoming                  3,690.00
                            depositions (3.7); call with W. Dalsen re same (.4).

5/25/20   LEP        3.90   Reviewed bondholder production                                 .       2,281.50

5/26/20   CS          .30   Review Ambac complaint (.2); email re complaint                         367.50
                                     (.1).

5/26/20   LEP        7.10   Reviewed bondholder ultra vires production for relevance               4,153.50
                            and significance.

5/26/20   LEP        1.20   Worked on Glendon deposition preparation.                               702.00

5/26/20   LSR        8.40   Work with team on getting document reading for                         7,560.00
                            Glendon/Altair depositions (.5); continue preparing for
                            upcoming deposition (5.8); review of potential deposition
                            document (2.1).

5/26/20   TDH        2.00   Prepared documents for upcoming deposition.                             800.00

5/27/20   CS          .80   Review                      report.                                     980.00

5/27/20   LEP        1.10   Participated in court reporter training.                                643.50

5/27/20   LEP        1.20   Worked on bondholder deposition preparation issues.                     702.00

5/27/20   LEP        5.60   Reviewed bondholder lien scope production for                          3,276.00
                            relevance and significance.

5/27/20   MMR         .60   Reviewed             analysis.                                          585.00

5/27/20   LSR        6.70   Edit Rule 30(b)(6) deposition outlines (4.3); review draft             6,030.00
                            of            report (1.7); review Jones Day updated
                            affidavits and privilege logs (.7).

5/27/20   WAW         .40   Reviewed                                  responses received from       252.00
                            ERS bondholders.

5/27/20   TDH         .60   Prepared documents for upcoming deposition.                             240.00




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 5/28/20   CS         2.00    Attend call re            report.                                 2,450.00

 5/28/20   CS           .50   Review           research.                                          612.50

 5/28/20   LEP        4.90    Monitored Mason Capital deposition                                2,866.50


 5/28/20   LEP          .20   Worked on bondholder deposition preparation issues                  117.00
                              with L. Raiford.

 5/28/20   LEP          .50   Participated in webex with court reporter and L. Raiford            292.50
                              in advance of deposition.

 5/28/20   LEP        3.10    Reviewed bondholder ultra vires production for relevance          1,813.50
                              and significance.

 5/28/20   MMR        3.50    Participate in portion of Mason Capital deposition.               3,412.50

 5/28/20   MMR        2.10    Participate in call with Proskauer                    (2.0);      2,047.50
                              confer with C. Steege on same (.1).

 5/28/20   MMR          .30   Gather and send I. Gershengorn materials                            292.50


 5/28/20   LSR        9.00    Continued preparing for Glendon and Altair depositions            8,100.00
                              (4.9); R. Engman deposition (4.1).

 5/28/20   TDH        1.00    Prepared documents for upcoming deposition.                         400.00

 5/29/20   LEP        1.10    Worked on Altair / Glendon deposition preparation issues            643.50
                              in advance of deposition.

 5/29/20   LEP        4.50    Participated in Altair / Glendon deposition.                      2,632.50

 5/29/20   LEP        1.20    Reviewed bondholders' lien scope production for                     702.00
                              significance and relevance.

 5/29/20   LSR        4.00    Conducted 30(b)(6) depositions for Altair and Glendon.            3,600.00

 5/29/20   TDH          .30   Distributed deposition exhibits to attendees.                       120.00

                    367.70    PROFESSIONAL SERVICES                                          $ 307,578.50


LESS 15% FEE DISCOUNT                                                                        $ -46,136.78

                                                                        FEE SUB-TOTAL        $ 261,441.72




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SUMMARY OF ERS BONDS ISSUES

NAME                                                  HOURS          RATE          TOTAL
ROBERT D. GORDON                                          .20     1,225.00          245.00
CATHERINE L. STEEGE                                     41.20     1,225.00       50,470.00
MELISSA M. ROOT                                         50.90       975.00       49,627.50
LANDON S. RAIFORD                                      154.60       900.00      139,140.00
NATHANIEL K.S. WACKMAN                                   3.80       745.00        2,831.00
WILLIAM A. WILLIAMS                                     18.40       630.00       11,592.00
LAURA E. PELANEK                                        66.00       585.00       38,610.00
ADAM T. SWINGLE                                         14.50       570.00        8,265.00
TOI D. HOOKER                                           15.50       400.00        6,200.00
MARC A. PATTERSON                                        2.60       230.00          598.00
TOTAL                                                  367.70                 $ 307,578.50



MATTER 10091 TOTAL                                                            $ 261,441.72




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CHALLENGES TO PROMESA                                                                     MATTER NUMBER - 10130

 5/26/20   MMR        1.20   Review of AMBAC complaint and communications with                            1,170.00
                             team                             .

 5/26/20   CNW         .50   Review Ambac complaint challenging PROMESA on                                 440.00
                             constitutional grounds.

 5/26/20   RDG         .80   Receive and preliminary review of Complaint by Ambac                          980.00
                             seeking to invalidate PROMESA (.6); email conference
                             with team re same (.2).

 5/27/20   CS         1.00   Read Ambac complaint to prepare for meeting.                                 1,225.00

 5/27/20   CS          .30   Email to team re Ambac complaint and strategy.                                367.50

 5/27/20   IHG        4.50   Call with A. Benson                                                          5,850.00
                                                                                      (.3); reviewed
                             complaint (.8); read and analyzed
                                                                                             (3.4).

 5/27/20   MMR         .60   Review of research,                                                           585.00
                                               (.4); e-mails with team on same (.2).

 5/27/20   AZB        4.40   Discussed                 with I. Gershengorn (.2);                          3,322.00
                             reviewed and analyzed complaint
                             (4.2).

 5/28/20   CS          .50   Attend call                                                                   612.50

 5/28/20   CS          .20   Email with M. Bienenstock                                                     245.00


 5/28/20   IHG        3.50   Call with C. Steege, H. Mayol, B. Gordon, M. Root re                         4,550.00
                                                                  (.5); call with A.
                             Benson                               , discussing results of
                             initial research (.3); read and analyzed

                             (2.7).

 5/28/20   LCH         .70   Review complaint                                                              700.00

 5/28/20   LCH         .40   Participate in call re                       strategy.                        400.00

 5/28/20   MMR        1.80   Review of Ambac complaint                                                    1,755.00
                                                                           (1.3); phone call with
                             team to discuss briefing                      (.5).




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 5/28/20   AZB        2.10   Prepared for and participated in discussion of updates         1,585.50
                                              with I. Gershengorn (1.5); researched
                                                               (1.6).

 5/28/20   RDG        1.20   Briefly review Ambac complaint (.5) and participate in         1,470.00
                             conference call with I. Gershengorn, C. Steege, H.
                             Mayol, et al., re                             ssues (.5);
                             follow-up email conference with C. Steege,
                                          , I. Gershengorn, et al. (.2).

 5/29/20   IHG        4.10   Reviewed                                                       5,330.00

                             developing arguments


                     27.80   PROFESSIONAL SERVICES                                       $ 30,587.50


LESS 15% FEE DISCOUNT                                                                     $ -4,588.13

                                                                       FEE SUB-TOTAL     $ 25,999.37


SUMMARY OF CHALLENGES TO PROMESA

NAME                                                      HOURS               RATE           TOTAL
IAN H. GERSHENGORN                                          12.10          1,300.00        15,730.00
ROBERT D. GORDON                                             2.00          1,225.00         2,450.00
CATHERINE L. STEEGE                                          2.00          1,225.00         2,450.00
LINDSAY C. HARRISON                                          1.10          1,000.00         1,100.00
MELISSA M. ROOT                                              3.60            975.00         3,510.00
CARL N. WEDOFF                                                .50            880.00           440.00
ADRIENNE LEE BENSON                                          6.50            755.00         4,907.50
TOTAL                                                       27.80                        $ 30,587.50



MATTER 10130 TOTAL                                                                       $ 25,999.37




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EMPLOYMENT OF PROFESSIONALS/FEE                                                 MATTER NUMBER - 10253
APPLICATIONS (NON-JENNER PROFESSIONALS)

 5/01/20   CNW          .50   Correspond with M. Root, M. Hancock, Y. Sanchez                   440.00
                              (Marchand), and V. Blay re various fee and payment
                              questions.

 5/05/20   CNW        1.30    Review and revise redactions on Bennazar March 2020             1,144.00
                              fee statement for confidentiality and privilege (1.2);
                              correspond with M. Root re same (.1).

 5/06/20   CNW          .30   Finalize and submit Bennazar March 2020 fee statement             264.00
                              (.2); correspond with V. Blay re payment status (.1).

 5/07/20   CNW          .60   Correspond with FTI, Segal, Bennazar, and Marchand                528.00
                              ICS Group re payment status (.4); correspond with V.
                              Blay re same (.2).

 5/17/20   MMR          .50   Prepare and submit professional budgets.                          487.50

 5/17/20   CNW          .80   Correspond with M. Root re various fee statement and              704.00
                              fee application issues (.3); review and redact Segal April
                              2020 bill for confidentiality and privilege (.5).

 5/18/20   MMR          .50   Review of professional fees for confidentiality purposes.         487.50

 5/18/20   CNW          .20   Correspond with Hacienda counsel re payment of                    176.00
                              outstanding professional fees.

 5/19/20   CNW          .40   Finalize and circulate Segal April fee statement (.3);            352.00
                              correspond with V. Blay and J. Marchand re fee
                              payments (.1)

 5/25/20   CNW          .20   Correspond with M. Root, F. Del Castillo, and Y.                  176.00
                              Sanchez (Marchand) re April 2020 fee statements.

 5/26/20   CNW        1.10    Review and redact Marchand ICS Group April 2020 fee               968.00
                              statement (1.0); correspond with M. Root re same (.1).

                      6.40    PROFESSIONAL SERVICES                                          $ 5,727.00


LESS 15% FEE DISCOUNT                                                                         $ -859.05

                                                                        FEE SUB-TOTAL        $ 4,867.95




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SUMMARY OF EMPLOYMENT OF PROFESSIONALS/FEE

NAME                                               HOURS               RATE           TOTAL
MELISSA M. ROOT                                      1.00             975.00           975.00
CARL N. WEDOFF                                       5.40             880.00         4,752.00
TOTAL                                                6.40                          $ 5,727.00



MATTER 10253 TOTAL                                                                 $ 4,867.95
                                                             TOTAL INVOICE       $ 365,817.59


SUMMARY OF PROFESSIONAL SERVICES

NAME                                                  HOURS              RATE         TOTAL
IAN H. GERSHENGORN                                      12.10         1,300.00      15,730.00
ROBERT D. GORDON                                        21.10         1,225.00      25,847.50
CATHERINE L. STEEGE                                     50.00         1,225.00      61,250.00
MARC B. HANKIN                                           3.70         1,125.00       4,162.50
LINDSAY C. HARRISON                                      1.10         1,000.00       1,100.00
MELISSA M. ROOT                                         65.00           975.00      63,375.00
EMILY M. LOEB                                            2.40           950.00       2,280.00
LANDON S. RAIFORD                                      156.70           900.00     141,030.00
CARL N. WEDOFF                                          22.40           880.00      19,712.00
ADRIENNE LEE BENSON                                      6.50           755.00       4,907.50
NATHANIEL K.S. WACKMAN                                   3.80           745.00       2,831.00
WILLIAM A. WILLIAMS                                     18.40           630.00      11,592.00
LAURA E. PELANEK                                        66.00           585.00      38,610.00
ADAM T. SWINGLE                                         14.50           570.00       8,265.00
TOI D. HOOKER                                           16.20           400.00       6,480.00
MARC A. PATTERSON                                       18.20           230.00       4,186.00
TOTAL                                                  478.10                    $ 411,358.50




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